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                            UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


SUDENGA INDUSTRIES,
INCORPORATED,


                      Plaintiff and
          Counterclaim Defendant,


v.                                                          Case No. 18-2498-DDC


GLOBAL INDUSTRIES, INC.,


                      Defendant and
              Counterclaim Plaintiff.


     MEMORANDUM IN SUPPORT OF PLAINTIFF SUDENGA INDUSTRIES,
     INCORPORATED’S CROSS MOTION FOR SUMMARY JUDGMENT OF
 INFRINGEMENT AND VALIDITY AND DISMISSAL OF COUNTERCLAIM COUNT
                               VII

       Pursuant to Federal Rule of Civil Procedure 56 and D. Kan. Local Rule 56.1, Plaintiff

Sudenga Industries Incorporated (“Sudenga”) moves for summary judgment of infringement under

Counts I-III of its Third Complaint for Patent Infringement (ECF 61) against Defendant Global

Industries, Inc. (“Global”) as well as for summary judgment of infringement and validity rejecting

Global’s Counterclaim Counts I-VI (ECF 62). This motion further seeks dismissal of Global’s

Counterclaim Count VII. (ECF 62). Sudenga’s present motion is designated a cross motion in

view of Global’s pending motion for partial summary judgment. (ECF 118 and 119).



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Exhibits Previously Submitted With Global’s Motion for Partial Summary Judgment (ECF 118

and 119) Cited Herein by Sudenga (but not re-filed herewith):


   ECF 119-1 – April 10, 2020 Declaration of Douglas Robinson

   Ex. 1 – ECF 119-2 – U.S. Pat. No. 8,616,823 (“the ‘823 Patent”), including Certificate of

                     Correction

   Ex. 2 – ECF 119-3 – U.S. Pat. No. 9,206,001 (“the ‘001 Patent”)

   Ex. 3 – ECF 119-4 – U.S. Pat. No. 10,017,338 (“the ‘338 Patent”)

   Ex. 4 – ECF 119-5 – Sudenga’s Original Infringement Contentions (without original Claim

                     Charts)

   Ex. 5 – ECF 119-6 – Sudenga’s Amended Infringement Contentions Claim Charts

   Ex. 6 – ECF 119-7 – Excerpts from Transcript of March 7, 2019 30(b)(6) Deposition of

                     Sudenga, Ronald Stewart Designee

   Ex. 7 – ECF 119-8 – U.S. Pat. App. Pub. No. 2010/0239399 (“the ‘399 Publication”)

   Ex. 8 – ECF 119-9 – U.S. Provisional Pat. App. Ser. No. 61/306,322 (Sudenga’s “PPA” or “the

                     ‘322 Provisional”)

   Ex. 9 – ECF 119-10 – Global’s “NexGen 3000 Klean Sweep Auger Owner’s & Operator’s

                     Manual” Publication No. 1044890 (effective Oct. 1, 2017)

   Ex. 10 – ECF 119-11 – December 24, 2019 Declaration of Valerio Pantalena (“Pantalena

                     Decl.”) with Exhibit A (“Morillon” reference [also referred to as the “Frame

                     Manual”] and version of Pantalena email chain without black box)

   Ex. 12 – ECF 119-13 – Amended Appendix A Claim Chart from Global’s Amended

            Invalidity Contentions

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   Ex. 13 – ECF 119-14 – Lizambard (EP 1 516 836 A1) with English machine translation

   Ex. 14 – ECF 119-15 – “Chief” Reference (GII0000316)

   Ex. 15 – ECF 119-16 – Sudenga’s Second Supplemental Answers to Global’s Second

                    Interrogatories

   Ex. 18 – ECF 119-19 – (New) Appendix B1 Claim Chart from Global’s Amended Invalidity

            Contentions

   Ex. 19 – ECF 119-20 – U.S. Pat. App. Pub. No. 2005/0263372 (“the ‘372 Publication” or

                    “Sudenga II”)

   Ex. 20 – ECF 119-21 – Herchen Declaration with Appendix A (“Neuero” brochure and English

                    translation), Appendix B (annotated photographs), Appendix C (excerpts

                    from 2010 price book in German only)

   Ex. 22 – ECF 119-22 – (New) Appendix H Claim Chart from Global’s Amended Invalidity

            Contentions

   Ex. 23 – ECF 119-24 – Excerpts from Sudenga’s Supplemental Answers to Global’s First

                    Interrogatories

   Ex. 24 – ECF 119-25 – Declaration of Frank Loeffler with Exhibit A (Loeffler CV)

   Ex. 25 – ECF 119-26 – Color copy of Neuero Brochure



Exhibits Relied Upon Here That Were Previously Submitted by Sudenga In Response to Global’s

Motion for Partial Summary Judgment (but not re-filed herewith):

   ECF 126-1 – April 30, 2020 Declaration of Austen Zuege

   Ex. A – ECF 126-2 – Excerpts from Global’s Amended Invalidity Contentions

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Ex. B – ECF 126-3 – April 29, 2020 Declaration of Dr. Carol L. Jones with Attachment J1

        (Jones CV)

Ex. C – ECF 126-4 – Additional Excerpts from Transcript of March 7, 2019 30(b)(6)

        Deposition of Sudenga, Ronald Stewart Designee [Other pages from this transcript

        were previously provided as Global’s Ex. 6 (ECF 119-7)]

Ex. D – ECF 126-5 – Sudenga’s Original ‘823 Patent, ‘001 Patent, and ‘338 Patent

        Infringement Contentions Claim Charts

Ex. E – ECF 126-6 – Global’s Answers to Sudenga’s Second Set of Interrogatories

Ex. F – ECF 126-7 – Excerpts from ‘338 Patent USPTO File History

Ex. G – ECF 126-8 – U.S. Pat. No. 10,518,989 (“the ‘989 Patent”)

Ex. H – ECF 126-9 – Excerpts from ‘989 Patent USPTO File History

Ex. I – ECF 126-10 – Pantalena Email Chain with Black Box at Top

Ex. J – ECF 126-11 – Additional Translation of Lizambard

Ex. K – ECF 126-12 – April 28, 2020 Declaration of Alan G. Hoogestraat With Attachments

        H1 (engineering drawings dated June 3, 2009; redacted version of Attachment H1 filed

        as ECF 126-12 and unredacted version of Attachment H1 filed under seal as ECF 130),

        H2 (redacted copies of additional documentation of conception), H3 (Sudenga’s “ 12”

        Industrial Sweep Series II Owners Manual ” version G7AG from 2009), and H4

        (photos GII0001455 to GII0001458 of Sudenga’s patented D150 bin sweep product

        taken by Global’s engineer at 2013 Louisville trade show)

Ex. L – ECF 127 – Global’s “NexGen 3000 Klean Sweep Auger Owner’s & Operator’s

        Manual” Publication No. 1044890 (Effective Aug. 15, 2014)




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Ex. M –     ECF 126-13 – Excerpts from Sudenga’s Supplemental Answers to Global’s First

          Set of Interrogatories

Ex. N – ECF 126-14 – USPTO Official Filing Receipt for U.S. Provisional Patent App. Ser.

          No. 61/306,322 (Sudenga’s “PPA” or “the ‘322 Provisional”)

Ex. O – ECF 126-15 – April 28, 2020 Declaration of Ronald Stewart with Attachment S1

          (redacted copy of Confidential Settlement and Patent License Agreement)

Ex. P – ECF 126-16 – Redacted Sales Invoice and Shipping Records for Kaksie Bros. Inc.

          2009 Sale (SII004470-SII004473)

Ex. Q – ECF 126-17 – Excerpts from ‘001 Patent USPTO File History

Ex. R – ECF 126-18 – Francis, U.S. Patent No. 3,449,840

Ex. S – ECF 126-19 – Global’s Answers to Sudenga’s First Set of Requests for Admission

Ex. T – ECF 126-20 – Excerpts from Transcript of September 4, 2019 30(b)(6) Deposition of

          Global, Craig Minton Designee

Ex. U – ECF 126-21 – Global’s Answers to Sudenga’s Second Set of Requests for Admission

Ex. V – ECF 126-22 – November 7, 2018 Email from Frank Loeffler

Ex. W –     ECF 126-23 – Redacted Copy of Global’s January 9, 2014 Engineering Project

          Status Spreadsheet (GII0009010)

Ex. X – ECF 126-24 – Sudenga Advertising/Promotional Materials from Global’s Engineering

          Files

Ex. Y – ECF 126-25 – Photo of Portion of Accused NexGen 3000 Bin Sweep Product

          (GII0000023)




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Exhibits Newly Submitted Herewith:

   July 1, 2020 Declaration of Austen Zuege

   Ex. AA – Global’s Amended Invalidity Contentions (Jan. 29, 2020)

   Ex. AB –Appendix B2 Claim Chart from Global’s Amended Invalidity Contentions

   Ex. AC – Amended Appendix D Claim Chart from Global’s Amended Invalidity Contentions

   Ex. AD – Amended Appendix E Claim Chart from Global’s Amended Invalidity Contentions

   Ex. AE – Amended Appendix F Claim Chart from Global’s Amended Invalidity Contentions

   Ex. AF – Amended Appendix G Claim Chart from Global’s Amended Invalidity Contentions

   Ex. AG – Assignment and USPTO Recordation Documents for the Patents-in-Suit

   Ex. AH – Copies of Sudenga Virtual Patent Marking Web Page and Product Decal

   Ex. AI – Excerpts from Sudenga Product Manuals Showing Patent Marking Decal Placement

   Ex. AJ – January 28, 2016 Demand Letter Sent by Sudenga to Global

   Ex. AK – September 4, 2018 Email between Counsel for the Parties

   Ex. AL – March 20, 2017 Demand Letter to Global, With Executed Domestic Return Receipt

   Ex. AM – January 27, 2020 Demand Letter from Sudenga’s Counsel to Global’s Counsel,

            with Cover Email and Delivery Confirmation

   Ex. AN – Global’s First Supplemental Responses to Sudenga’s First Set of Interrogatories

   Ex. AO – Redacted Excerpts of Acquisition Agreement

   Ex. AP – April 12, 2017 Email from Mr. Ryan Kipp of AGI

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Ex. AQ – Redacted March 24-25, 2015 Email Chain

Ex. AR – Excerpts from Global’s “Hutchinson Bin Unloading Systems” Brochure (2016)

Ex. AS – Redacted Copy of Covenant Not to Sue

Ex. AT – Global’s Responses to Sudenga’s Third Set of Interrogatories

Ex. AU – Second Declaration of Dr. Carol L. Jones with Attachment J1 (Jones CV)

Ex. AV – December 7, 2018 Email Chain

Ex. AW – Redacted April 30 and May 1, 2014 Email Chain

Ex. AX – Global Sales/Marketing Document

Ex. AY – Redacted copy of Spreadsheet of Global’s NexGen 3000 Sales (Jan. 26, 2019)

Ex. AZ – Additional Excerpts from Transcript of September 4, 2019 30(b)(6) Deposition of

         Global, Craig Minton Designee (Other Excerpts from this transcript included in Ex.

         T [ECF 126-20])

Ex. BA – March 31 and April 1, 2017 Email Chain and Additional April 1, 2017 Email

Ex. BB – June 12 and 20, 2017 Email Chain

Ex. BC – January 30, 2018 Email Chain

Ex. BD – Additional Excerpts from Sudenga’s Supplemental Answers to Global’s First Set

         of Interrogatories (other excerpts included as Ex. M [ECF 126-13])

Ex. BE – Excerpts from Global’s Responses to Sudenga’s Second Set of Requests for

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Ex. BF – Global’s Original Invalidity Contentions and Document Disclosure (Feb. 8, 2019)

Ex. BG – February 14, 2020 Email Chain Between Counsel for the Parties

Ex. BH – Redacted March 28, 29 and April 10, 2018 Email Chain

Ex. BI - Copy of Ex parte Böger, No. 2017-001586 (PTAB, Aug. 29, 2017)

Ex. BJ – Excerpts from Global’s (Original) Responses to Sudenga’s First Set of

         Interrogatories

Ex. BK – Screenshots of YouTube Web Pages for Third-Party Videos of Global’s NexGen

         3000 Product With the Optional Tru-Klean chain & paddle accessory

Ex. BL – April 3 and 11 and May 4 and 12, 2017 Email Chain




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               NATURE OF THE MATTER AND STATEMENTS OF FACT



I.     STATEMENT OF THE NATURE OF MATTER BEFORE THE COURT

       The present action involves allegations of patent infringement relating to bin sweep

technology with utility to the agricultural industry. Plaintiff Sudenga Industries, Inc. (“Sudenga”)

has alleged that defendant Global Industries, Inc.’s (“Global’s”) Accused Product, referred to as

both the “Hutchinson NexGen 3000 Series Commercial Sweep” and “NexGen 3000 Klean Sweep

Auger,” infringes one or more claims of each of U.S. Patent Nos. 8,616,823 (“the ‘823 Patent”);

9,206,001 (“the ‘001 Patent); and 10,017,338 (“the ‘338 Patent”) (collectively, the “Patents-in-

Suit”)—each of which is entitled “Bin Sweep Collector Ring Assembly”—and the Global’s

infringement was willful. (ECF 61). More particularly, Sudenga is asserting that Global’s

Accused Product infringes claims 1, 6, and 8 of the ‘823 Patent, claims 1, 6-8, 10, and 11 of the

‘001 Patent, and claims 1, 4-19, 21, and 22 of the ‘338 Patent. (Ex. 5). The specific issues

presented in the present cross motion are the following.

       A.      Infringement of the ‘823 Patent

       Is Sudenga entitled to summary judgment of infringement of the ‘823 Patent based on

Global’s literal infringement of one or more of claims 1, 6, and/or 8 of the ‘823 Patent by making,

using, selling, offering for sale, or importing the Accused Product in violation of 35 U.S.C.

§ 271(a)?

       B.      Infringement of the ‘001 Patent

       Is Sudenga entitled to summary judgment of infringement of the ‘001 Patent based on

Global’s literal infringement of one or more of claims 1, 6-8, 10, and/or 11 of the ‘001 Patent by

making, using, selling, offering for sale, or importing the Accused Product in violation of 35

U.S.C. § 271(a)?

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        C.     Infringement of the ‘338 Patent

        Is Sudenga entitled to summary judgment of infringement of the ‘338 Patent based on

Global’s literal infringement of one or more of claims 1, 4-19, 21, and/or 22 of the ‘338 Patent by

making, using, selling, offering for sale, or importing the Accused Product in violation of 35

U.S.C. § 271(a)?

        D.     Willfulness

        Was Global’s infringement of the Patents-in-Suit willful?

        E.     Validity of the ‘823 Patent

        Are asserted claims 1, 6, and 8 of the ‘823 Patent valid over each ground set forth in

Global’s Amended Invalidity Contentions?

        F.     Validity of the ‘001 Patent

        Are asserted claims 1, 6-8, 10, and 11 of the ‘001 Patent valid over each ground set forth

in Global’s Amended Invalidity Contentions?

        G.     Validity of the ‘338 Patent

        Are asserted claims 1, 4-19, 21, and 22 of the ‘338 Patent valid over each ground set forth

in Global’s Amended Invalidity Contentions?

        H.     Counterclaim for Attorney’s Fees

        Does Global lack Article III standing for its Counterclaim Count VII for attorney’s fees?



II.     PLAINTIFF’S STATEMENT OF MATERIAL FACTS

        Pursuant to Local Rule 56.1(a), Sudenga sets forth the following statements of material

facts (“SOF”). For clarity, in light of Global’s pending summary judgment motion, Sudenga

preserves the numbering of the parties’ prior SOF 1-144 and begins its newly-presented SOF at

number 145. Sudenga’s prior SOF 68-144 are reproduced here for ease of reference. (See ECF

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126). Sudenga further notes that some of SOF 68-144 cite or otherwise refer to Global’s prior

SOF 1-67 (which are not reproduced herein) as well as exhibits previously submitted in support of

or in opposition to Global’s prior motion for summary judgment (which are not duplicatively

resubmitted herewith). (See ECF 119 and 126).



       Statements of Facts Reproduced from Sudenga’s Prior Response Brief (ECF 126):1

       68.     Sudenga provided “amended” infringement contention claim charts to Global on

Dec. 31, 2019 that were captioned “amended” and which omitted claims that were no longer being

asserted but were substantively identical to Sudenga’s original infringement contentions (served

Nov. 16, 2018) with regard to the remaining asserted claims, namely claims 1, 6, and 8 of the ‘823

Patent, claims 1, 6-8, 10, and 11 of the ‘001 Patent, and claims 1, 4-19, 21, and 22 of the ‘338

Patent. (Ex. 5; Ex. D). A table with excerpts from the original and amended infringement

contentions charts shown side-by-side for the clause “a pivot stand attached to a top surface of the

floor grate, the pivot stand defining a vertical pivot axis” is provided here, which shows the same

annotated images from pages P-3, 14 and 17 of Global’s 2014 product manual (Ex. L):




1
  Global previously responded to SOF 68-144 in its Reply Brief (ECF 132), of which some SOF
responses were the subject of Sudenga’s Motion to Strike (ECF 133). Sudenga does not believe
that Global can alter its previous responses to SOF 68-144 as a matter of right but also that
Global need not specifically reproduce its prior responses to SOF 68-144 when responding to the
instant cross motion. It is further noted that some new footnotes are added here noting
inadvertent typographical errors in original SOF 68-144.
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  Original Infringement Contentions Chart for       Amended Infringement Contentions Chart for
         ‘823 Patent – Claim 1 (Ex. D)                    ‘823 Patent – Claim 1 (Ex. 5)




       69.     The parties’ different views on the level of skill of a person of ordinary skill in the

relevant art do not have any material impact on the parties’ (and their experts’) respective positions.

(SOF 31; Ex. 24 at ¶ 15; Ex. B at ¶ 9).



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          70.   The subject matter of each of the asserted claims, as well as the subject matter

disclosed in the ‘322 Provisional, pertains to predictable arts. (Exs. 1-3 and 8; Ex. B at ¶ 13).

More particularly, the subject matter of each asserted claim and the ‘322 Provisional pertains to

predictable mechanical, electrical, and/or electromechanical arts. (Id.).

          71.   Alan Hoogestraat conceived of the inventions disclosed in U.S. Provisional Patent

Application Ser. No. 61/306,322 (“the ‘322 Provisional” or “PPA”) and claimed in the Patents-in-

Suit no later than June 3, 2009. (Ex. K at ¶¶ 7-9; Ex. M, pp. 3-6, 8 and 9; see also Exs. 1-3 and 8;

Ex. N). Mr. Hoogestraat was and still is a design engineer employed by Sudenga. (Ex. K at ¶¶ 2

and 7).

          72.   U.S. Provisional Patent Application Ser. No. 61/306,322 (“the ‘322 Provisional” or

“PPA”) describes disclosed inventions with reference to knowledge available to those of ordinary

skill in the art, including comparison and contrast with at least one prior art bin sweep device. (Ex.

8, ¶¶ 2-6, FIGS. 1 and 2; Ex. B at ¶¶ 13-20; Ex. C, pp. 149-151).

          73.   The phrase “attached to a top surface” does not literally appear in the ‘322

Provisional. (Ex. 8; see also Ex. B at ¶ 16)).

          74.   At the time the ‘322 Provisional was filed, on February 19, 2010, many types or

embodiments of sweep mechanisms or linear conveyors for moving solid material were known to

persons of ordinary skill in the relevant art pertaining, included an auger with flighting, a chain

with paddles, a belt, a cleated belt, or the like. (Ex. 7, ¶¶ 31 and 36; Ex. 6 at 38:8-23; Ex. B at

¶ 20; see also Ex. B at ¶¶ 18 and 19).

          75.   A person of ordinary skill in the art at the time of filing of the ‘322 Provisional

would have understood an auger with flighting, a chain with paddles, a belt, a cleated belt, or the

like to be species falling within the genus of a “sweep mechanism” or “linear conveyor”, where a



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“sweep mechanism” or “linear conveyor” is “a mechanism for moving solid material.” (ECF 102,

p. 16; Ex. 7, ¶¶ 31 and 36; Ex. 6 at 38:8-23; Ex. B at ¶ 20; see also Ex. B at ¶¶ 18 and 19; SOF 1,

17, 30, and 31).

       76.     A person of ordinary skill in the art at the time of filing of the ‘322 Provisional

would have recognized support in Sudenga’s PPA for a pivot pipe or stand “extending above a top

surface of the floor grate” as recited in asserted claims of the ‘001 Patent and ‘338 Patents. ECF

102, p. 16; Ex. B at ¶¶ 15-17.

       77.     The Patents-in-suit each claim priority to the ‘322 Provisional; claims 1, 6, and 8

of the ‘823 Patent, claims 1, 6-8, 10, and 11 of the ‘001 Patent, and claims 1, 4-19, 21, and 22 of

the ‘338 Patent each are sufficiently supported by disclosures in the ‘322 Provisional; and claims

1, 6, and 8 of the ‘823 Patent, claims 1, 6-8, 10, and 11 of the ‘001 Patent, and claims 1, 4-19, 21,

and 22 of the ‘338 Patent are each entitled to the February 19, 2010 filing date of the ‘322

Provisional. (Exs. 1-3, front pages; Ex. 4 at pp. 5-7; Ex. 8; Ex. B at ¶¶ 13-20; Ex. N; see also SOF

1 and 17; Ex. F at SII003697, SII003701; Ex. H at SII008158, SII008197, SII008278, SII008281-

82, SII008303-04).

       78.     Global produced an Owner’s & Operator’s Manual to fulfill the requirement of

Patent Local Rule 3.4(a) to produce documents sufficient to show the operation of any aspects or

elements of the accused instrumentality, and has relied on such a manual in its briefing on the

present motion. (Ex. 9; SOF 25-28). As such, Global’s Owner’s & Operator’s Manuals for the

accused product are reliable sources of information about technical characteristics and operation

of the accused product. (Id.; Ex. L). Global has issued multiple versions of the Owner’s &

Operator’s Manual for the accused product. (Ex. 9; Ex. L).




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        79.     Sudenga has issued multiple versions of the manual for its “Series II” bin sweep

product. (Ex. K at ¶ 13 and Attachment H3). For instance, version G7AG of Sudenga’s “ 12”

INDUSTRIAL SWEEP SERIES II OWNERS MANUAL ” explicitly disclosed an above-floor

slip ring and housing assembly while earlier versions of the “Series II” bin sweep owner’s manual

did not include any disclosures related to a collector ring (or slip ring). (Id.).

        80.     Sudenga has sold and offered for sale different products under its “Series II”

product/brand name that (a) had an above-floor collector ring assembly and embodied the subject

matter of the asserted claims of the Patents-in-Suit and also (b) that lacked an above-floor collector

ring assembly and did not fall within claims of the Patents-in-Suit. (Ex. O at ¶ 5; see also Ex. C,

pp. 18-19 and Ex. 6, pp. 41-42; Ex. K Attachment H2).

        81.     Sudenga diligently worked to reduce to practice the inventions disclosed in the ‘322

Provisional and recited in the asserted claims of the Patents-in-Suit in the summer of 2009 by

building a prototype bin sweep device from engineering specifications prepared by Alan

Hoogestraat as of June 3, 2009. (Ex. K, at ¶¶ 7-12; Ex. M, pp. 3-6, 8, 9 and 20-22; see also SOF

71). Mr. Ron Bechler, at that time a Sudenga Research & Development Specialist, then fabricated

a bin sweep prototype embodying the inventions disclosed in the ‘322 Provisional and recited in

the asserted claims of the Patents-in-Suit prior to October 1, 2009 according to Mr. Hoogestraat’s

design specifications dated June 3, 2009. (Ex. K, at ¶¶ 7-12 and Attachments H1 and H4; Ex. M,

pp. 3-6, 8, 9 and 20-22; see also Ex. P).

        82.     The Sudenga prototype bin sweep fabricated by Mr. Bechler from Mr.

Hoogestraat’s June 3, 2009 design specifications was sold to Kaskie Bros. Inc. (“Kaskie Bros.”)

on September 11, 2009 and then shipped to Kaskie Bros. on October 1, 2009. (Ex. P; Ex. M, pp.

4-5, 8, 9, and 20-22; SOF 23; see also SOF 81; Ex. G, pp. 1-2; Ex. H at SII008160, SII008193-94,



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SII008197, SII008278, SII008281-82, SII008303-04). The sale in September 2009 and shipment

in early October 2009 of the Sudenga prototype to Kaskie Bros. constituted sale of a device that

actually reduced to practice of the subject matter of the currently-asserted claims of the Patents-

in-Suit. (Ex. P; Ex. K at ¶¶ 9-11; Ex. M, pp. 4-5, 8, 9, and 20-22; SOF 23; see also SOF 79 and

81).

          83.   Mr. Hoogestraat invented the subject matter disclosed in the ‘322 Provisional and

recited in the asserted claims of the Patents-in-Suit before November of 2009. (Ex. K at ¶¶ 7-11

and Attachments H1-H3; SOF 71, 81, and 82).

          84.   The September 11, 2009 sale to Kaskie Bros. was less than one year before the

filing date of the ‘322 Provisional. (SOF 23; Ex. P; Ex. N; see also Ex. 8; Ex. G, pp. 1-2; Ex. H

at SII008160, SII008193-94, SII008197, SII008278, SII008281-82, SII008303-04). The critical

date under pre-AIA 35 U.S.C. § 102(b) for any claims having priority to the February 19, 2010

filing date of the ‘322 Provisional is February 19, 2009. (Ex. N; see also Exs. 1-3, front pages;

Ex. 8).

          85.   Sudenga’s electronic records of the 2009 prototype sale to Kaskie Bros. were lost

in a computer hard drive crash in late 2010 or early 2011. (Ex. C, p. 75). When filing the Patents-

in-Suit and when commencing the present lawsuit, Sudenga believed that the sale to Kaskie Bros.

less than one year before the filing of the ‘322 Provisional did not affect its ability to file the

Patents-in-Suit and did not impact the validity of the claims of the Patents-in-Suit. (Id. at pp. 146-

151).

          86.   The U.S. Patent & Trademark Office (“USPTO”) previously considered Morillon,

Chief, Lizambard, and the ‘372 Publication during examination of the application for the asserted

‘338 Patent, along with additional prior art references cited in the application for the asserted ‘338



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Patent or in a parent application (including all art previously cited in the applications for the ‘823

Patent and the ‘001 Patent). (Ex. 1 at p. 1; Ex. 2 at pp. 1-2; Ex. 3 at pp. 1-2; Ex. F at SII3703,

SII003706-07; MPEP § 609.02 (I) and (II)(A)(2)). Furthermore, the USPTO also considered a

claim chart prepared by Global’s counsel (relating to the ‘823 Patent and the ‘001 Patent) during

examination of the application for the ‘338 Patent and assertions by Global’s counsel regarding

publication dates of non-patent literature. (Ex. 3 at p. 1; Ex. F at SII003703, SII003707, and

SII003774-3899). When allowing the grant of the ‘338 Patent, the Notice of Allowance stated,

“the prior art does not include . . . a housing which convers at least a top of the collector ring . . .

as recited in the claims.” (Ex. F at SII003697).[2]

         87.     U.S. Patent No. 10,518,989 (“the ‘989 Patent”), entitled “Bin Sweep Collector Ring

Assembly,” was granted on December 31, 2019 to Sudenga and was assigned at issuance to

Sudenga. (Ex. G, pp. 1-2). Alan Hoogestraat is the sole named inventor of the ‘989 Patent, which

claims priority to the ‘338 Patent, the ‘001 Patent, the ‘823 Patent, and the ‘322 Provisional. (Ex.

G, pp. 1-2). The ‘989 Patent is family related to the Patents-in-Suit through shared priority claims.

(Id.; Exs. 1-3 at front pages).

         88.     The USPTO previously considered the Kaskie Bros. 2009 sale, Morillon, Chief,

Lizambard, and the ‘372 Publication during examination of the application for the ‘989 Patent,

along with additional prior art references cited in the application for the ‘989 Patent or in a parent

application (including all art previously cited in the applications for the ‘823 Patent, the ‘001

Patent, and the ‘338 Patent). (Ex. 1 at p. 1; Ex. 2 at pp. 1-2; Ex. 3 at pp. 1-2; Ex. G, pp. 1-2; Ex.

H at SII008132-34, SII008160, SII008169, SII008189, SII008193-94, SII008197, SII8278.

SII008281-82, SII008303-04; MPEP § 609.02 (I) and (II)(A)(2)). Furthermore, the USPTO also



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    The original quoted text actually used the word “covers” not “convers”.
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considered Global’s original Invalidity Contentions and accompanying original invalidity claim

charts from the present litigation (relating to the ‘823 Patent, the ‘001 Patent, and the ‘338 Patent),

as well as another January 2019 claim chart prepared by Global’s attorneys, during examination

of the application for the ‘989 Patent. (Ex. G, pp. 1-2; Ex. H at SII008169, SII008193-94,

SII008278, SII008281-82, SII008303-04). When allowing the grant of the ‘989 Patent, the Notice

of Allowance stated, “the prior art does not include . . . a housing which convers at least a top of

the collector ring as recited in the claims.” (Ex. H at SII008160). Subsequent to allowance of the

application for the ‘989 Patent, the examiner stated that additional materials, including a new

(undated, second) declaration from Valerio Pantalena, “had no adverse effect on patentability.”

(Ex. H at SII008132-34).[3]

         89.     Global has refused to admit that the Patents-in-Suit are valid over art previously

considered by the USPTO. (Ex. S, pp. 1-3).

         90.     Alan Hoogestraat was not aware of the company Morillon SAS, the Morillon

reference, or a Morillon “Bin Sweeper Spirogyre for the discharge of the residual cone S 210”

product prior to the commencement of the present litigation. (Ex. K at ¶ 15; see also Ex. F at

SII003895-99).

         91.     Sudenga’s expert witness, Dr. Carol Jones, was not aware of the company Morillon

SAS or a Morillon “Bin Sweeper Spirogyre for the discharge of the residual cone S 210” prior to

receiving copies of materials produced by Global during the pendency of the present litigation.

(Ex. B at ¶ 21).

         92.     Global lacks any evidence that a Morillon “Bin Sweeper Spirogyre for the

discharge of the residual cone S 210” product was made, sold, offered for sale, or publicly used in



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    The original quoted text actually used the word “covers” not “convers”.
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the United States (i.e., in this country) more than one year prior to February 18, 2011 or more than

one year prior to February 19, 2010. (Ex. S, p. 4).

         93.   Multiple pages of the Morillon reference carry a proprietary notice that “it mustn’t

be copied or published without our approval.”          (Ex. 10 at GII0029305-06, GII0029328,

GII0029335; Ex. S, pp. 4-5; see also Ex. T, pp. 155-156). At least one other similar notice also

appears on Morillon in a language other than English. (Ex. 10 at GII0029315, GII0029339; Ex. B

at ¶ 22; see also Ex. 15, pp. 39-48).

         94.   Both Sudenga and Global mark proprietary, internal engineering drawings with

notices regarding the proprietary status of such documents. (Ex. K at Attachment H1; Ex. U, pp.

2 and 4; see also Ex. U, p. 3). Such markings constitute protective measures that restrict copying,

distribution, or the like. (Ex. K at Attachment H1; Ex. U, pp. 2 and 4).

         95.   Aside from Morillon, other bin sweep product manuals of record—including those

from Sudenga, Global, and GSI Group—lack any protective measures that restrict copying,

distribution, or the like. (Ex. 9; Ex. B at ¶ 23; Ex. K at Attachment H3; Ex. L; Ex. U, pp. 3-5; ECF

77-9).

         96.   Morillon carries at least one restriction or protective measure against copying or

publication. (Ex. 10 at GII0029305-06, GII0029315, GII0029328, GII0029335; Ex. 15, pp. 39-

48; Ex. B at ¶¶ 22 and 23; see also Ex. B at ¶ 24; SOF 93-95).

         97.   The Pantalena Decl. (Ex. 10) does not establish approval, authorization, or

permission from Morillon SAS to copy or publish the Morillon reference. (See Ex. 10 and its

accompanying Exhibit A at GII0029353-55).




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        98.       The Pantalena Decl. (Ex. 10) does not provide corroboration for some or all of the

statements in its paragraphs 2-4, and 6-9. (See Ex. 10 ¶¶ 2-4 and 6-9 and accompanying Exhibit

A).

        99.       The Pantalena Decl. does not provide or attach any corroborating evidence for the

assertion that “we were working with a customer in Iran to sell that customer a Bin Sweep

Spyrogyre for the discharge of the residual cone, model S210” as referred to in paragraph 2. (See

Ex. 10 and its accompanying Exhibit A at GII0029353-55).

        100.      Frame S.p.A. was not an end user but was more like a distributor or reseller of

products manufactured by Morillon SAS outside the United States. (Ex. 10, ¶¶ 2 and 4; SOF 92).

        101.      Paragraph 3 of the Pantalena Decl. does not provide any dates for the “various trade

shows” referenced, nor is any corroborating evidence of such “various trade shows” provided or

attached. (Ex. 10, ¶ 3 and accompanying Exhibit A). Paragraph 3 of the Pantalena Decl. does not

allege that any of the “various trade shows” were before April 22, 2008, or before any other date.

(Id.). Paragraph 3 of the Pantalena Decl. does not allege any dates of “advertise[ment] of its S 210

device to the industry” and does not state that any such “advertise[ment]” was before April 22,

2008.    (Id.).     There are no copies attached or otherwise provided to corroborate any

“advertise[ment] of its S 210 device to the industry” referenced in paragraph 3 of the Pantalena

Decl. (Id.).

        102.      An April 22, 2008 email from Mr. Pantalena states, “we . . . wish to save a digital

copy in our network for reference.” (Ex. 10, accompanying Exhibit A at GII0029355).

        103.      The email chain provided as Exhibit A of the Pantalena Decl. (Ex. 10) included

multiple confidentiality notices that stated: “The content of this e-mail and any files is

CONFIDENTIAL and intended solely for the use of the individual or entity to whom it is



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addressed.” (Ex. 10, accompanying Exhibit A at GII0029354-55; Ex. 15, pp. 39-48; Ex. F, at

SII003720-22; Ex. I at SII007098-100). Global obtained the email chain through its sister

company, Framé (or Frame). (See Ex. T, pp. 148-149).

        104.   A different version of the email chain attached to the Declaration of Valerio

Pantalena (Ex. 10, accompanying Exhibit A at GII0029354-55) exists that has a black bar at the

top left. (Ex. F, at SII003720; Ex. I at SII007098; see also Ex. T, pp. 154-155).

   105.        Global has not alleged that Morillon (Ex. 10 at accompanying Exhibit A) was

publicly accessible by virtue of being catalogued or indexed in a publicly accessible archive (e.g.,

a library, internet search engine) so as to be available to the extent that persons interested and

ordinarily skilled in the subject matter or art can locate it by exercising reasonable diligence and

using available research tools. (Ex. E, pp. 2-3; see also, generally, ECF 119-0).

   106.        Global has not alleged that Morillon (Ex. 10 at accompanying Exhibit A) was

publicly accessible by virtue of being publicly displayed for a sufficient time and in a sufficiently

broad manner as to be sufficiently accessible to persons interested and ordinarily skilled in the

subject matter or art by exercising reasonable diligence. (Ex. E, pp. 2-3; see also, generally, ECF

119).

        107.   Morillon was not generally publicly accessible more than one year before the filing

date of the ‘322 Provisional. (Ex. 10 at GII0029305-06, GII0029315, GII0029328, GII0029335;

Ex. 15, pp. 39-48; Ex. B at ¶¶ 21-24; Ex K at ¶ 15; see also SOF 82-87).

        108.   Morillon fails to disclose each and every limitation of the asserted claims of the

Patents-in-Suit in the level detail recited in those claims.      (Exs. 1-3 at claims; Ex. 10 at

accompanying Exhibit A; Ex. 15, pp. 48-51; Ex. B at ¶¶ 25-33).




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       109.    Numerous photos and drawings in Morillon show a collector ring exposed to an

interior of a bin (and to any grain or other materials in that bin) at least at the front and top,

including the following photos and drawings (with annotations added):

          Collector ring              Collector ring                               Collector ring
            exposed at                  exposed at                               exposed at least at
         front and above             front and above                              front and above


      Collector ring
        exposed at
     front and above




       (Ex. 10 at accompanying Exhibit A; Ex. B at ¶ 26; see also Ex. 15, pp. 48-51).

       110.    Morillon does not show, teach, or disclose a “housing covering at least a top of the

collector ring” as recited in claims 1, 15, and 19 of the ‘338 Patent, or in any asserted claims

depending from those independent claims. (Ex. 3 at pp. 1-2 and claims; Ex. 10 at accompanying

Exhibit A; Ex. 15, pp. 48-51; Ex. B at ¶¶ 26 and 27; Ex. F at SII003697; SOF 86; see also Ex. H

at SII008232 and SII008160; SOF 88).

       111.    Morillon does not disclose that “the drive unit is encased by a cover located

adjacent to the housing” where “the cover is sloped” as recited by claim 22 of the ‘338 Patent,

which depends from claim 21 as well as claim 19. (Ex. 3, at claims; Ex. 10 at accompanying

Exhibit A; Ex. 15, p. 51; Ex. B at ¶ 30).

       112.    Morillon does not show, teach, or disclose a “housing surrounding the collector

ring” as recited in claim 1 of the ‘823 Patent or claim 1 of the ‘001 Patent, or in any asserted claims

depending from those independent claims.           (Ex 1 at claims; Ex. 2 at claims; Ex. 10 at

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accompanying Exhibit A; Ex. 15, pp. 48-51; Ex. B at ¶¶ 26 and 28; see also Ex. F at SII003697;

Ex. H at SII008232 and SII008160; SOF 86 and 88).

         113.   Morillon does not show, teach, or disclose that “the housing is attached to a drive

unit on one side and to an auger section on another side” as recited by independent claim 1 of the

‘823 Patent, or in any asserted claims depending from that independent claim. (Ex. 1 at claims;

Ex. 10 at accompanying Exhibit A; Ex. 15, pp. 48-49; Ex. B at ¶ 29; SOF 88).

         114.   Lizambard (EP 1 516 836 A1) does not show, teach, or disclose a collector ring or

slip ring. (Ex. 13; Ex. B at ¶¶ 34 and 38; see also Ex. B at ¶¶ 50 and 51; Ex. J). Lizambard

discloses a “motorization member 30” or “drive member 30” or “motorization organ 30” or

“motorization device 30” that is shown in FIG. 2A. (Ex. 13 at ¶¶ 13 and 21 and FIG. 2B; Ex. B at

¶ 35; see also Ex. J at ¶¶ 13 and 21). This “drive member” 30 is stated to function to “rotate the

worm 32” through an angular gearbox, with the “worm 32” or “endless screw 32” illustrated as an

auger in FIG. 2B and similarly described as an auger in ¶ 11 of the Lizambard translations. (Ex.

13 at ¶¶ 11 and 13 and FIG. 2B; Ex. B at ¶ 35; see also Ex. B at ¶¶ 36 and 37; Ex. J at ¶¶ 11 and

13).

         115.   The “covering” annotated in orange in the Loeffler Declaration (Ex. 24) and SOF

46 is identified and described by Lizambard as part of the “drive member 30”. (Ex. 13 at, e.g., ¶¶

13 and 21 and FIG. 2B; Ex. B at ¶ 38; see also Ex. J; SOF 114).

         116.   Because Lizambard does not disclose a collector ring (or slip ring) at all, Lizambard

does not show, teach, or disclose a housing surrounding or covering at least a top of a collector

ring (or slip ring). (Ex. 13; Ex. B at ¶¶ 34 and 38; SOF 114-115; see also Ex. B at ¶ 50).

         117.   Chief discloses a bin sweep device with a “protective hood” over a motor for a

“gear drive arrangement” but shows an “electrical slip ring” (i.e., collector ring) laterally spaced



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from that “protective hood”, with the collector ring exposed to the interior of a bin and therefore

exposed to any solid materials stored in the bin (e.g., grain). (Ex. 14; Ex. B at ¶ 41). The “gear

drive arrangement” of Chief refers to the mechanical drivetrain between the motor and the auger

of the sweep arm shown in the “Type ‘S’” photo, with the mechanical “gear drive” drivetrain

located directly below the motor. (Ex. 14; Ex. B at ¶ 41). These disclosures and teachings of

Chief are shown in the annotated “Type ‘S’” photo from Chief reproduced below:


                                                                        “Protective hood”
        “Electrical slip ring”
         (i.e., collector ring)
        laterally spaced from                                            Motor for “gear drive
          “protective hood”                                                 arrangement”
            and exposed to
        contents of bin (e.g.,
          grain) from above
          and from the sides


         (Ex. 14; Ex. B at ¶ 41).

         118.    Chief discloses that “the Type ‘S’ slip ring is [a] ‘STEMMANN IP66’ fitting in a

galvanized steel casing.” (Ex. 14; Ex. B at ¶ 42). Stemmann is a well-known manufacturer of

collector rings, and “IP66” appears to refer to a particular Stemmann slip ring model or part

number. (Ex. B at ¶ 42; see also Ex. 14). The “galvanized steel case” disclosed by Chief is a

casing of the slip ring (or collector ring) itself and is not a separate “housing” as recited in the

asserted claims of the Patents-in-Suit. (Ex. 14; Ex. B at ¶ 42; see also ECF 102, p. 16; Ex. B at ¶

47).

         119.    Global has not alleged that Chief qualifies as prior art against the asserted claims

under any particular subsection (a)-(g) of pre-AIA 35 U.S.C. § 102. (Ex. 15, pp. 36-37; Ex. 18;

SOF 42; ECF 119, pp. 26-27).

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          120.   Global has not alleged in its summary judgment motion filings that either Chief or

Neuro[4] contains an enabling disclosure. (Contrast SOF 32 and ECF 119, pp. 17 and 22 with SOF

42 and 52 and ECF 119, p. 26-27).

          121.   Global has not alleged that Neuero qualifies as prior art against the asserted claims

under any particular subsection (a)-(g) of pre-AIA 35 U.S.C. § 102. (Ex 15, pp. 26, 37, and 82-

83; Ex. 22; SOF 52; ECF 119, pp. 26-27).

          122.   It was known in the relevant art that collector rings (or slip rings) for bin sweep

applications, particularly for agricultural or grain bin applications, must be explosionproof. (Ex.

B at ¶ 47; Ex. V; see also Ex. B at ¶¶ 53 and 54). The explosionproofing of a collector ring

provides sealing against infiltration of grain and grain dust into the interior of the collector ring.

(Ex. B at ¶ 47). Indeed, preventing the infiltration of grain dust into the interior of a collector

ring—where “live” electrical conductors are present and there is a risk of electrical sparks being

generated, particularly where electricity is transmitted across a rotational interface—is an

important part of what explosionproofing accomplishes. (Id.). Grain dust is a highly explosive

material and must generally be kept separate from electrical components (like brushes or the like

inside a collector ring that transmit electrical current or signals) that could ignite a grain dust

explosion. (Id.). The explosionproofing of commercially available collector rings suitable for

agricultural applications is provided in part by the casing that is part of the collector ring itself (but

such a casing is separate from the housing recited in claims of the Patents-in-Suit). (Id.; ECF 102,

p. 16).

          123.   Global’s expert witness Frank Loeffler has said, “I noticed the ‘338 patent is

centered around the collector ring. Do they manufacture their own or do they purchase a



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    “Neuro” should read “Neuero.”
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commercially available unit? For grain handling this device would need to be explosion proof and

I did not see any mention of that in the patent. I [sic] simply says a housing.” (Ex. V).

        124.    If the teachings of Lizambard were combined with the teachings of Chief, this

would not have led a person of ordinary skill in the relevant art to provide a housing that covers at

least a top of the collector ring or that surrounds the collector ring, but would instead result in a

collector ring that is still exposed to the interior of a bin and any contents of that bin (e.g., grain).

(Ex. B at ¶ 52).

        125.    Global has conceded that the teachings of Neuero are at most merely cumulative

with those of Chief. (SOF 55; see also Exs. 14, 20, and 25).

        126.    There would have been no motivation to combine the teachings of Chief or Neuero

with those of Lizambard as suggested by Global or Global’s expert Mr. Loeffler. (Ex. 15, pp. 38,

39, 51-55; Ex. B at ¶¶ 52 and 53).

        127.    The claimed inventions of the Patents-in-Suit, taken as a whole, addressed the grain

pressure within a bin (beyond merely grain dust infiltration) that can still make an exposed and

unhoused collector ring vulnerable to damage from crushing or the like despite the presence of an

explosionproof casing of the collector ring itself. (Ex. C, pp. 152-153; see also Exs. 1-3 and 8;

Ex. B at ¶ 47; Ex. F at SII003597; Ex. G, pp. 1-2; Ex. H at SII008132, SII008160; Ex. Q at

SII003549, SII003568, SII003570-72; Ex. R at, e.g., FIG. 3; Ex. V).                  The USPTO has

acknowledged during examination of at least the ‘001 Patent and the ‘338 Patent that the “housing”

recited in asserted claims is different from the prior art, such as Francis (U.S. Pat. No. 3,449,840),

in which a collector ring is exposed and lacks a housing (that is separate from any casing or the

like that is part of the collector ring itself). (Ex. 2, p. 1; Ex. 3, pp. 1-2; Ex. B at ¶ 47; Ex. F at




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SII003597; Ex. Q at SII003549, SII003568, SII003570-72; Ex. R at, e.g., FIG. 3; see also Ex. G ,

pp. 1-2; Ex. H at SII008132, SII008160).

       128.    The ‘372 Publication (Sudenga II) does not show, teach, or disclose a collector ring

or slip ring. (Ex. 19; Ex. B at ¶ 48; see also Ex. B at ¶ 50). The terms “collector ring”, “slip ring”

or the like do not appear in the ‘372 Publication. (Ex. 19; Ex. B at ¶ 48). Moreover, the figures

of the ‘372 Publication do not disclose a collector ring or the like, as shown in the annotated

comparison of figures from the ‘372 Publication and the asserted ‘338 Patent:




                     No collector                                  Collector ring
                        ring                                            (36)




                FIG. 2 of ‘372 Publication (left) and FIG. 2 of ‘338 Patent (right)

       (Ex. 3, FIG. 2 Ex. 19, FIG. 2; Ex. B at ¶ 48).

       129.    Morillon does not disclose a tractor with a motor for moving a sweep in an arc

about a bin nor a sweep mechanism or linear conveyor that can move in an arc about a pivot axis

independent of movement of grain engaging surfaces of the sweep mechanism or linear conveyor

to move grain along its length toward the floor grate but instead discloses a reducer drive with a

reducer wheel that moves the sweep in an arc using gearing connected to an auger, such that the

reducer wheel turns at a speed dependent upon rotation of the auger. (Ex. 10, accompanying

Exhibit A at GII0029305, GII0029316, GII0029318-22, GII0029335, GII0029344; Ex. B at ¶¶ 31-


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33).    This is apparent in Morillon from pages GII0029321, GII0029335, and GII0029344,

especially, which illustrate the reducer drive transmission between the auger and the reducer

wheel. Portions of the relevant reducer drive (with reducer drive transmission) and reducer wheel

drawings of Morillon are as follows:




         (Ex. 10, accompanying Exhibit A; Ex. B at ¶ 32).

         130.   Lizambard does not disclose a tractor with a motor for moving a sweep in an arc

about a bin nor a sweep mechanism or linear conveyor that can move in an arc about a pivot axis

independent of movement of grain engaging surfaces of the sweep mechanism or linear conveyor

to move grain along its length toward the floor grate but rather discloses a reducer drive with a

reducer wheel 33 that moves the sweep in a “circle of radius” (that is, in an arc) using gearing

(namely, “coupling members 330” in the form of a “gear reduction box”) connected to an auger

32, such that the reducer wheel 33 turns at a speed dependent upon rotation of the auger 32. (Ex.

13, ¶ 14, FIGS. 2A and 2B; Ex. B at ¶¶ 39 and 40; see also Ex. 13, ¶ 48, FIG. 3B; Ex. J; SOF 63).




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       (Ex. 13, FIG. 2B).

       131.    Chief does not disclose a tractor with a motor nor a sweep mechanism or linear

conveyor that can move in an arc about a pivot axis independent of movement of grain engaging

surfaces of the sweep mechanism or linear conveyor to move grain along its length toward the

floor grate but instead discloses a “reducer drive wheel” that is available in two wheel widths. The

reducer drive wheel “advances” the sweep in an arc about a bin. (Ex. 14; Ex. B at ¶¶ 43 and 44;

see also SOF 63). The two different width reducer drive wheels are shown in Chief as follows:




               (Ex. 14; Ex. B at ¶ 43).

       132.    Neuero does not disclose a tractor with a motor nor a sweep mechanism or linear

conveyor that can move in an arc about a pivot axis independent of movement of grain engaging

surfaces of the sweep mechanism or linear conveyor to move grain along its length toward the

floor grate but instead discloses a reducer drive and reducer wheel to move a sweep arm in an arc

within a bin, as shown by the following photo and drawing:




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                (Exs. 20 and 25; Ex. B at ¶¶ 45-46).

         133.   Persons of ordinary skill in the art at the time of invention of the inventions recited

in the asserted claims would have understood that a “tractor” as claimed was different from a

reducer drive or reducer drive wheel assembly. (Ex. B at ¶ 54).

         134.   There was no motivation for a person of ordinary skill in the art to combine the

teachings of the ‘372 Publication with those of Morillon, Chief, Neuero, and/or Lizambard as

suggested by Global or Global’s expert Mr. Loeffler. (Ex. 15, pp. 38, 39, 48-55, and 87; Ex. B at

¶ 54).

         135.   Sudenga has evidence of objective indicia of non-obviousness, and may obtain

more such evidence pending resolution of a motion to compel. (See ECF 123 at pp. 2-4 and ECF

125 at pp. 2-3). For instance, the Patents-in-Suit were asserted in another patent infringement

lawsuit under the ‘001 Patent and the defendant (NorStar Industries Ltd.) in that other lawsuit took

a license, and another third party (Behlen Mfg. Co.) discontinued its infringing product rather than

take a license to the Patents-in-Suit. (Ex. O at ¶¶ 6, 8, and 9 and Attachment S1). Furthermore,

there is evidence of copying, including by Global. (Id. at ¶¶ 6-9; Ex. 5; Ex. K at Attachment H4;

Ex. W; Ex. X; Ex. T at pp. 19-21 and 24-28). Global’s own engineering files included copies of

Sudenga publications describing products that embodied inventions recited in the asserted claims,

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including, for instance, a Sudenga publication from June 2012 that describes the “Patent Pending”

Sudenga D150 bin sweep product “equipped with a Sudenga Above-Floor Slip Ring option” and

a Global engineer identified as a “lead person” on the design of the accused NexGen 3000 product

photographed the Sudenga D150 bin sweep product at a February 2013 trade show in Louisville.

(Ex. 4, pp. 7-10; Ex. K at Attachment H4; Ex. W; Ex. X; Ex. T at pp. 19-21 and 24-28). Global’s

business records from early 2014 subsequently show a “purpose” of the NexGen 3000 product

development to be to “develop slip ring mounting to bring it out of the center well . . . .” (Ex. W;

see also Ex. L). There is also evidence of commercial success in that Sudenga has continued to

offer for sale a prior art bin sweep product (without an above-floor collector ring assembly) but

sales of bin sweeps have overwhelmingly been for the newer product with an above-floor collector

ring assembly covered by the Patents-in-Suit. (Ex. O at ¶ 10).

       136.    The accused product, Global’s NexGen 3000 bin sweep, meets all limitations of at

least claim 1 of the ‘823 Patent. (Ex. 5, pp. 1-7; Ex. B at ¶¶ 55-61; see also Ex. 9; Ex. L; Ex. Y;

ECF 102, pp. 12-16; SOF 68).

       137.    The accused product, Global’s NexGen 3000 bin sweep, meets all limitations of

each of claims 1, 6, and 8 of the ‘823 Patent. (Ex. 5, pp. 1-10; Ex. B at ¶¶ 55-61; see also Ex. 9;

Ex. L; Ex. Y; ECF 102, pp. 12-16; SOF 68).

       138.    A “pivot stand” as recited in at least claim 1 of the ‘823 Patent is not limited to a

single-piece object and can be a multi-piece assembly. (Ex. 1, claim 1; Ex. 9, pp. 17, P-3 and P-

4; ECF 77 at p. 24; ECF 102 at p.13; SOF 26-27; ECF 119 at pp. 7-8; Ex. B at ¶¶ 57-61; see also

Ex. 5, pp. 1-5).




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       139.    Global’s reference to the “flange for the slip ring mount tube” is a reference to a

“mount” that is a separate component from the cylindrical “slip ring mount tube”. (SOF ¶ 27; ECF

119 at p. 7; Ex. B at ¶ 58).

       140.     It is possible for a “pivot stand” as recited in claim 1 of the ‘823 Patent to have an

attachment “to a top surface of the floor grate” and to further have an additional attachment to

another location, such as an additional attachment to a bottom surface of the same floor grate. (Ex.

B at ¶ 6; ECF 102, p.13 n.1; see also ECF. No. 77, pp. 28-29 and n.9). The asserted claims of the

‘823 Patent do not preclude additional attachments beyond the requirement of “a pivot stand

attached to a top surface of the floor grate”. (ECF 102, p.13 n.1; see also ECF. No. 77, pp. 28-29

and n.9).

       141.    Global’s accused product includes a “WLMT Top Bearing Retainer” (part no.

1039096) that is also called the “top plate”, “bearing mount”, or “retainer, top bearing” or the like

that is attached to a top surface of the floor grate of the center well (also called a sump or hopper)

with bolts, as is shown in the following excerpts from Global’s NexGen 3000 product manuals

and an additional photo:




                                                           (2014 manual p. P-4)




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                                        (2014 manual p. P-4)




                                          (2017 manual p. P-4)




                                        (2017 manual p. P-4)




                                  (2014 manual, p. 13)

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                                                  (2017 manual, p. 13)




                                                               (GII0000023)

(Ex. 9, pp. 13 and P-4; Ex. B at ¶¶ 57 and 61; Ex. L, pp. 13 and P-4; Ex. T, pp. 81-83; Ex. Y).

       142.    Global’s Owner’s & Operator’s Manual for the accused NexGen 3000 product

describes a bronze “bushing on the top plate” that “can eventually begin to wear and may become

oval shaped . . . .” (Ex. 9, p. 13 [GII0000212]; Ex. L, p. 13). Wear on the top plate bushing (as

described on p. 13 of the 2014 and 2017 manuals) is due to lateral contact between components in

a direction generally perpendicular to the pivot axis of the sweep. (Ex. B at ¶ 61).


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       143.    The following annotated image from the 2017 manual for the accused NexGen

3000 product shows attachments of a multi-piece pivot stand to both a top surface and a bottom

surface of a floor grate:

        Collector (slip) ring
                                                                             Part of
                                                                           pivot stand
           Top surface of
            floor grate
                                                                   Attachments to both
                                                                    top and bottom of
                                                                        floor grate


       (Ex. 9, p. 17; Ex. B, ¶ 57).

       144.    Sudenga’s infringement contentions identified the “WLMT Top Bearing Retainer”

(part no. 1039096), “top plate”, “bearing mount”, “retainer, top bearing”, or the like together with

the “mount tube” as part of the multi-piece structure that satisfied the “pivot stand attached to a

top surface of the floor grate” limitation of asserted claims of the ‘823 Patent:




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       (Ex. 5, pp. 1-5; Ex. D, pp. 1-5).




   Sudenga’s Further (New) Statements of Material Fact:

                              Pleadings and Procedural Background

       145.    Sudenga has pled Counts I-III for infringement by Global of the ‘823 Patent, the

‘001 Patent, and the ‘338 Patent, respectively. (ECF 61). Sudenga has pled that Global’s

infringement is willful. (ECF 61 at ¶¶ 38, 51, 67).

       146.    Global has denied liability under Counts I-III of Sudenga’s pleadings and has made

a first affirmative defense of alleged noninfringement and a second affirmative defense of alleged

invalidity. (ECF 62).

       147.    Global has plead Counterclaim Counts I-III for a declaratory judgment of

noninfringement of each of the Patents-in-Suit. (ECF 62, pp. 35-36). Global has also plead

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Counterclaim Counts IV-VI for declaratory judgment of invalidity of each of the Patents-in-Suit.

(ECF 62, pp. 36-37). Further, Global has plead Counterclaim Count VII for “Declaratory

Judgment of Entitlement to Attorney’s Fees”, alleging entitlement to such attorney’s fees under 35

U.S.C. § 285. (ECF 62, pp. 36-37).

       148.    The Court issued its claim construction order (signed Dec. 3, 2019) on December

4, 2019. (ECF 102). The Court construed three undisputed and two disputed terms as follows:

                     Term                                       Court’s Construction
 Sweep mechanism                                  A mechanism for moving solid material,
                                                  including an auger with flighting, a chain with
                                                  paddles, a belt, a cleated belt, or the like.
 Linear conveyor                                  A mechanism for moving solid material,
                                                  including an auger with flighting, a chain with
                                                  paddles, a belt, a cleated belt, or the like.
 Extending above a top surface of the floor       The given element extends above the top
 grate                                            surface of the floor grate, but is not necessarily
                                                  attached to the top surface of the floor grate.
 Collector Ring                                   An electromechanical device also called a ‘slip
                                                  ring’ that allows the transmission of power
                                                  and/or electrical signals from a stationary to a
                                                  rotating structure. Further, a ‘housing’ recited
                                                  in the claims of the asserted patents is separate
                                                  from a casing, enclosure, or the like that, if
                                                  present, is not part of the recited ‘collector
                                                  ring’ itself.
 A pivot stand attached to a top surface of       Use plain and ordinary meaning. But,
 the floor grate                                  “attached” means “joined, fastened, or
                                                  connected.”

(ECF 102, p. 16).

       149.    The Court issued an Initial Patent Scheduling Order on October 30, 2018, (ECF

No. 48), which was subsequently amended (ECF Nos. 57, 69 and 103). The Court’s scheduling

orders set deadlines for, inter alia, “Exchange of Proposed Terms for Construction” (pursuant to

Patent Local Rule 4.1(a)) by February 22, 2019. (Id.).




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       150.    Global did not dispute the scope or construction of the term “pivot stand” by the

Court’s scheduling order deadline for “Exchange of Proposed Terms for Construction”. (ECF 77-

12; see also ECF 77, p. 22). Global has not sought leave to amend the Court’s scheduling order(s)

in order to raise new or additional terms for claim construction, and did not make a request under

Local Rule 7.3 for the Court to reconsider its December 4, 2019 claim construction order. (July

1, 2020 Declaration of Austen Zuege at ¶ 41)

       151.    The Court’s scheduling orders and D. Kan. Patent Local Rule 3.6 set a January 15,

2020 deadline for establishing reliance on advice of counsel for any claim or defense; Global did

not invoke any reliance on advice of counsel provisions by that deadline or produce materials

under Patent Local Rule 3.6(a) and (b) by that deadline, and Global is not relying on any advice

of counsel defense nor is Global relying on advice of counsel in support of any of its counterclaims.

(See ECF Nos. 57, 69, 102, and 103).

       152.    On April 10, 2020, Global moved for partial summary judgment on Counts I-III of

Sudenga’s Third Amended Complaint for Patent Infringement. (ECF 118; see also ECF 61 and

119). More particularly, Global’s motion for partial summary judgment was based on (a) alleged

non-infringement of claims 1, 6, and 8 of the ‘823 Patent, (b) alleged invalidity of claims 1, 6-8,

10, and 11 of the ‘001 Patent and claims 1, 4-19, 21, and 22 of the ‘338 Patent based on alleged

lack of priority to Sudenga’s PPA that allegedly creates an on-sale bar from a September 2009 sale

to Kaskie Bros., and (c) alleged invalidity of all Asserted Claims of each of the Patents-in-Suit

based on alleged anticipation by Morillon (plus obviousness of dependent claims with so-called

“tractor limitations” in view of Sudenga II) and/or alleged obviousness over the combination of

Chief or Neuero in view of Lizambard (plus Sudenga II for dependent claims with so-called

“tractor limitations”). (ECF 119, pp. i-ii and 1-30; Exs. 12, 18, and 22; see also Ex. AA).



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       153.    Global’s April 10, 2020 motion for partial summary judgment did not argue

noninfringement of the ‘001 Patent or the ‘338 Patent, and did not argue invalidity based on all of

its Amended Invalidity Contentions as served January 29, 2020. (ECF 119; Exs. AA-AF; see also

SOF 152).

                     Information About the Patents-in-Suit and the Parties

       154.    Alan G. Hoogestraat is the sole inventor of U.S. Patent Nos. 8,616,823 (“the ‘823

Patent”), 9,206,001 (“the ‘001 Patent”), and 10,017,338 (“the ‘338 Patent”) (collectively, the

“Patents-in-Suit”), each entitled “Bin Sweep Collector Ring Assembly.” (Exs. 1-3 at front pages;

Ex. K at ¶ 4; ECF 62 at ¶ 7; see also SOF 71 and 87).

       155.    The ‘823 Patent was issued by the United States Patent and Trademark Office

(“USPTO”) on December 31, 2013 from United States Patent Application Serial No. 13/030,836.

(Ex. 1 at front page). A Certificate of Correction for the ‘823 Patent was issued by the USPTO on

July 29, 2014. (Id. at Certificate of Correction).

       156.    The ‘001 Patent was issued by the USPTO on December 8, 2015 from United States

Patent Application Serial No. 14/600,186. (Ex. 2 at front page). The ‘001 Patent is a continuation

of the application that issued as U.S. Patent No. 9,206,000, which is a continuation of the

application that issued as the ‘823 Patent. (Id.).

       157.    The ‘338 Patent was issued by the USPTO on July 10, 2018 from United States

Patent Application Serial No. 14/961,468. (Ex. 3 at front page). The ‘338 Patent is a continuation

of the application that issued as the ‘001 Patent. (Id at pp. 1-2).

       158.    The provisions of 35 U.S.C. §§ 102, 103, and 112 in effect prior to the enactment

of the American Invents Act (“pre-AIA”) apply to the asserted claims of the Patents-in-Suit and to




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all the claims, counterclaims, and defenses plead in the present action. (Ex. AA, p. 34; Exs. 1-3 at

front pages; Ex. 4, p. 11; SOF 1).

         159.   Sudenga is the owner of each of the Patents-in-Suit by assignment, and assignment

documents have been recorded with the USPTO for each of the Patents-in-Suit. (Ex. AG; Exs. 1-

3 at front pages).

         160.   Sudenga sells bin sweep systems, including models D150 and D100, under the

MAX™ D Series Commercial Grain Bin Sweep brand name that embody inventions claimed in

the Patents-in-Suit. (Ex. K at ¶ 14 and Attachment H4; Ex. M, pp. 8 and 10; Ex. 4, pp. 7-10; Exs.

AH and AI). Sudenga has also previously sold bin sweep systems under the Series II Sweep Auger

and Series III Sweep Auger brands that embodied inventions claimed in the Patents-in-Suit. (Ex.

K at ¶¶ 7-9 and 13 and Attachments H1-H3; Ex. M, pp. 8 and 10; Ex. O at ¶¶ 5 and 10; Ex. 4, pp.

7-10).

         161.   Sudenga first sold the MAX™ D Series Commercial Grain Bin Sweep Model D150

in February 2014 and first sold the MAX™ D Series Commercial Grain Bin Sweep Model D100

in November 2014. (Ex. M, p. 9).

         162.   Sudenga first sold the Series II Sweep Auger product that embodied inventions

claimed in the Patents-in-Suit on September 11, 2009 and first sold the Series III Sweep auger that

embodied inventions claimed in the Patents-in-Suit on September 14, 2009. (Ex. M, p. 9; Ex. P;

see also SOF 23).

         163.   Following the grant of the ‘823 Patent at the end of 2013, Sudenga began marking

bin sweep products with one or more of the patent numbers for the Patents-in-Suit beginning in

March 2014, and has substantially continuously marked products covered by the Patents-in-Suit

since that time. (Ex. M, p. 10; Exs. AH and AI).



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       164.   Sudenga notified Global that the Accused Product infringed the ‘823 Patent and the

‘001 Patent by letter on January 28, 2016, and notified Global’s counsel that the Accused Product

infringed the ‘338 Patent (referred to as “a recently granted patent”) by email no later than

September 4, 2018 and by telephone no later than August 28, 2018. (Exs. AJ and AK; see also

ECF 1 and 37; Ex. AL).

       165.   Sudenga notified Global, through Global’s litigation counsel, of infringement of

the ‘989 Patent by Global’s NexGen 3000 bin sweep product (the Accused Product) in writing on

January 27, 2020. (Ex. AM). By telephone, counsel for Sudenga had previously discussed with

counsel for Global that Sudenga would not seek to add a count for infringement of the ‘989 Patent

to the present suit due to timing concerns, because the ‘989 Patent had been granted after claim

construction was already completed in the present action. (July 1, 2020 Declaration of Austen

Zuege at ¶ 42; see also SOF 87).

       166.   Global is a Nebraska corporation and a wholly-owned subsidiary of Ag Growth

International Inc. (“AGI”). (ECF 18; ECF 22-5 at ¶¶ 3 and 4; ECF 62 at ¶¶ 2 and 26). More

specifically, Westfield Distributing (North Dakota), Inc. is the sole shareholder of Global, Ag

Growth Holdings Corp. is the sole shareholder of Westfield Distributing, and AGI is the sole

shareholder of Ag Growth Holdings Corp. (ECF 18, p. 2). Global has a place of business in Clay

Center, Kansas. (ECF 22-5 at ¶¶ 5 and 6; ECF 62 at ¶ 5).

       167.   Global became an AGI subsidiary on April 4, 2017 upon a share purchase. (Ex.

AN at p. 4; Exs. AO and AP; ECF 22-5 at ¶ 3; ECF 61-4 and 134-3 at ¶ 8; see also SOF 166).

Since that acquisition, AGI has controlled Global’s operations. (Ex. AZ, p. 139; see also,

generally, ECF 22-5 and 134-3).




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       168.    Global makes and sells bin sweep systems through its Hutchinson/Mayrath division

and uses its “Hutchinson” brand on its bin sweep products. (Ex. 9 at GII0000265; ECF 22-5 at

¶ 5). Global is a direct competitor of Sudenga in the bin sweep market in this country. (Id.; Exs.

AQ and BC).

       169.    Global makes, sells, and offers for sale in the United States the “Hutchinson

NexGen 3000 Series Commercial Sweep” bin sweep system that is also referred to as the “NexGen

3000 Klean Sweep Auger” bin sweep system (referred to herein also as the “Accused Product”).

(Ex. 5; Ex. AR; Ex. 9; Ex. L; see also Ex. BK; SOF 25; ECF 22-5 at ¶ 6).

       170.    Global’s Accused Product has an optional, add-on “Tru-Klean Chain & Paddle

Sweep” accessory, which is also referred to as the “Tru-Klean Drag Conveyor” and “Drag Section

Assembly,” made, sold, and offered for sale in the United States by Global. (Ex. 5; Ex. 9 at

GII0000198, GII0000222-GII00002229, and GII0000265; Ex. AR; see also Ex. L; Ex. BK). The

“Tru-Klean Chain & Paddle Sweep” accessory has a chain and paddle sweep mechanism that acts

as a secondary sweep mechanism in addition to an auger with flighting that acts as the primary

sweep mechanism. (Id.; see also ECF 102, p. 16).

                               Level of Skill in the Relevant Art

       171.    Sudenga asserts that the prior art of record during examination of the Patents-in-

Suit reflects the appropriate level of skill in the relevant art, but, to the extent that further

explanation of the level of skill in the art is required, Sudenga believes that a person of ordinary

skill in the art of the Patents-in-Suit would have at least an undergraduate degree in engineering,

or industry experience comparable to such an educational background, plus at least one year of

experience with agricultural or materials handling equipment design and/or agricultural bin or bin

sweep safety. (Ex. B at ¶ 9; ECF 77, pp. 11-12; SOF 30). Sudenga’s expert witness, Dr. Carol



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Jones, has indicated that she believes Sudenga’s position reflects the proper definition of a person

of ordinary skill in the relevant art but also that her opinions and analysis would not change if

Global’s alternate definition of a person of ordinary skill in the relevant art were adopted. (Ex. B

at ¶ 9; SOF 69; see also SOF 30, 31).

       172.    Sarcastically referring to “Engineering Geniuses,” email correspondence between

Global’s engineering and sales personnel and a dealer-distributor about Global’s NexGen bin

sweep products and competitive Sudenga bin sweep products from March 2015 refers to technical

difficulties associated with using tractors for bin sweeps, including difficulties associated with

electric tractor motors and supplying power to such electric tractor motors. (Ex. AQ).

     Sudenga’s Infringement Contentions and Global’s Noninfringement Contentions

       173.    Sudenga is currently asserting that Global is liable for infringement of claims 1, 6,

and 8 of the ‘823 Patent, claims 1, 6-8, 10, and 11 of the ‘001 Patent, and claims 1, 4-19, 21, and

22 of the ‘338 Patent (collectively, the “Asserted Claims”). (Ex. 5; see also Ex. 4).

       174.    Sudenga and Global entered into a Covenant not to Sue on January 24, 2019 in

which Sudenga agreed to no longer assert certain claims of the Patents-in-Suit and to no longer

assert U.S. Patent No. 9,206,000. (Ex. AS; see also SOF 173).

       175.    Sudenga contends that Global is liable for direct, literal infringement of the

Asserted Claims based on Global’s manufacture, use, sale, offering for sale, and/or importation of

Global’s NexGen 3000 Klean Sweep Auger product (the “Accused Product”), also known as the

Hutchinson NexGen 3000 Series Commercial Sweep or the Model 3150 bin sweep product. (Ex.

4, pp. 2-5; Ex. 5; see also Ex. 9 at GII0000198; Ex. BK; see also, generally, ECF 61).

       176.    Global contends that none of the Asserted Claims are infringed by the Accused

Product. (Ex. AT; Ex. BJ, pp. 4-8; see also ECF 62, p. 32).



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        177.   Global’s Accused Product meets all of the limitations of at least one claim of each

of the Patents-in-Suit under the Court’s December 2019 claim construction order. (Ex. 5; Ex. B

at ¶¶ 55-61; Ex. AU at ¶¶ 48-49; SOF 136, 137, 187; see also Exs. 1-4; Ex. BK; ECF 102; SOF

148).

        178.   Global’s Accused Product directly, literally infringes claims 1, 6, and 8 of the ‘823

Patent, claims 1, 6-8, 10, and 11 of the ‘001 Patent, and claims 1, 4-19, 21, and 22 of the ‘338

Patent. (Ex. 5; Ex. B at ¶¶ 55-61; Ex. AU at ¶¶ 48-49; SOF 136, 137, 177; see also Exs. 1-4; Ex.

BK; ECF 102; SOF 148).

        179.   Global’s Accused Product infringes at least one claim of the ‘823 Patent, as

illustrated by the following table that compares the Accused product to independent claim 1 of the

‘823 Patent.




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(Ex. 5; Ex. B at ¶¶55-61; SOF 136, 137; see also Exs. 1, 4 and 9; Exs. L and Y; Ex. AR; ECF 102).

       180.    In an email from Mr. Craig Minton included in a December 7, 2018 email chain

related to Sudenga’s allegation in the present action, Mr. Minton circled the “Retainer, Top

Bearing” in a drawing of center well components and highlights the description of that part on

page P-4 from the manual for the accused NexGen 3000 product. (Ex. AV at GII0029400).

       181.    Dependent claim 6 of the ‘823 Patent reads on the Accused Product, as illustrated

in the following table.




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(Ex. 5; Ex. B at ¶¶55-61; SOF 136, 137; see also Exs. 1, 4, and 9; Ex. L; Ex. AR; ECF 102; SOF

180).


        182.   In a December 7, 2018 email chain related to Sudenga’s infringement allegations

in the present action, Mr. Craig Minton of Global and Mr. Craig Nimgeers of AGI, Global’s parent

company, discussed “the peak of the cover” in the part of the accused NexGen 3000 product

“where the slip ring would sit.” (Ex. AV at GII0029398).

        183.   Global’s accused product infringes at least one claim of the ‘001 Patent, as

illustrated by the following table that compares the Accused product to independent claim 1 of the

‘001 Patent.




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(Ex. 5; Ex. AU at ¶ 48; see also Exs. 2, 4, and 9; Ex. L; Ex. AR; ECF 102).

       184.    Dependent claim 6 of the ‘001 Patent reads on the Accused Product, as illustrated

in the following table.




(Ex. 5; Ex. AU at ¶ 48; see also Exs. 2, 4, and 9; Ex. L; Ex. AR; ECF 102; SOF 182, 183).

       185.    Global’s accused product infringes at least one claim of the ‘338 Patent, as

illustrated by the following tables that compare the Accused product to independent claims 1, 15,

and 19 of the ‘338 Patent.

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(Ex. 5; Ex. AU at ¶ 49; see also Exs. 3 and 9; Ex. L; Ex. AR; ECF 102).

       186.   Dependent claims 21 and 22 of the ‘338 Patent read on the Accused Product, as

shown in the following tables.




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(Ex. 5; Ex. AU at ¶ 49; see also Exs. 3, 4, and 9; Ex. B at ¶ 30; Ex. L; Ex. AR; ECF 102; SOF

185).

        187.   Sudenga’s expert witness, Dr. Carol Jones, has opined that Global’s Accused

Product reads on at least one claim of each of the Patents-in-Suit, taking into account the Court’s

December 2019 claim construction order. (Ex. AU at ¶¶ 8 and 48-49; Ex. B at ¶¶ 11 and 55-61;

see also Exs. 4 and 5).

        188.   Global’s conduct involving the Accused Product establishes willful infringement

during some or all of the period in which Global, made, used, offered for sale, sold, and/or imported

the Accused Product. (Ex. K at ¶ 14 and Attachment H4; Ex. T at pp. 19-21 and 24-28; Exs. W

and X; Exs. AW to BD; SOF 89, 135, 151, 189, 191-196; see also ECF 61 at ¶¶ 38, 51, 67; SOF

163).

        189.   Global received an advertisement for Sudenga’s D150 Commercial Sweep product

that stated, “Electricity is permanently installed in the sweep with patented above floor collector

ring,” at least as of May 1, 2014 when a dealer-customer asked about Global offering the features

advertised by Sudenga on Global’s own bin sweep products. (Ex. AW; see also ECF 22-5 at ¶ 7).

The Sudenga email advertisement forwarded by the dealer-customer to Global highlighted the

“D150 Commercial Sweep” and stated, “Electricity is permanently installed in the sweep with

patented above floor collector ring.” (Ex. AW at GII0014288). In the received Sudenga email
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advertisement, and in other Sudenga advertising materials in Global’s records, “Zero-Entry” bin

operation is emphasized. (Id. at GII0014288; Ex. X at GII0001463-GII---1465). The dealer-

customer stated in a May 1, 2014 email, “there has [sic] been many questions when Hutch might

offer this on any of the sweeps new or retro-fit to old ones?” (Ex. AW at GII0014287).

       190.    In product materials, Global’s NexGen 3000 Klean Sweep product was identified

as “Coming Spring 2014” with a “Slip ring above floor . . . .” (Ex. AX). Global released a product

manual for the Accused Product in or around August 15, 2014. (Ex. L at cover page). Global first

made, sold, offered for sale, and actually shipped one of the NexGen 3000 Accused Products in

(or shipped from) this country no later than April 20, 2015. (Ex. AY).

       191.    Global did not perform any patent freedom-to-operate study when developing the

Accused Product. (Ex. AN; Ex. AZ, p. 42; see also, generally, Ex. T).

       192.



          (See Ex. BA at GII0030625).

                             (Id. at GII0030624-GII0030625).

                                                                                      (Ex. BL at

GII0029722).

       193.



                                                                            (Ex. BA; Ex. AO at

GII0030750-GII0030751; see also SOF 167, 192).

       194.    Global, and/or its agents, first performed a prior art search against any of the

Patents-in-Suit in April 2017. (Ex. AN at pp. 4-5).



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          195.   In a June 20, 2017 email, in responses inserted after questions posed by Mr. Craig

Nimegeers, Mr. Ryan Kipp stated that AGI/Global personnel involved with the accused NexGen

3000 product “are looking for a bit of information on whether we can re-design to get around the

alleged infringement.” (Ex. BB at GII0029741).

          196.   In a January 30, 2018 email, Mr. Ryan Kipp of AGI, Global’s parent company

wrote,

                                                       (Ex. BC at GII0030717; see also SOF 192).

                                   Global’s Invalidity Contentions

          197.    Global contends that the Asserted Claims are all invalid. (Exs. AA-AF; Exs. 12,

18, 22; see also ECF 62, p. 32).

          198.   Global served its Amended Invalidity Contentions on January 29, 2020. (Ex. AA;

see also Exs. AB-AF; Exs. 12, 18, 22; SOF 197, 199).

          199.   Global’s Amended Invalidity Contentions set forth the following grounds for

alleged invalidity of some or all of the Asserted Claims:5

    Alleged Prior Art or     Claim Chart             Invalidity              Asserted Claims
         Reference            Appendix             Contention(s)
    September 2009               none          On-sale bar under 35      all Asserted Claims
    Kaskie Bros. Sale                          U.S.C. § 102(b),
                                               premised upon lack
                                               of priority to
                                               Sudenga’s PPA due
                                               to insufficient written
                                               description support
                                               under 35 U.S.C.
                                               § 112, ¶ 1
    ‘338 Patent claim 4            none        Statutory double          claims 8, 9, and 14 of the
                                               patenting under 35        ‘338 patent
                                               U.S.C. § 101



5
 Sudenga’s pending Motion to Strike (ECF 133) addresses a dispute over the scope of Global’s
Amended Invalidity Contentions.
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    Alleged Prior Art or     Claim Chart           Invalidity            Asserted Claims
          Reference           Appendix           Contention(s)
    Bin Sweep Spirogyre       Amended        Printed Publication     claims 1 and 6 of the ‘823
    S 210 Assembling &       Appendix A      anticipation under      patent,
    Maintenance                              unspecified
    Instructions                             subsection of 35        claims 1, 6–8, and 11 of
    (“Morillon”)                             U.S.C. § 102 (pre-      the ‘001 patent, and
                                             AIA)
                                                                     claims 1, 4–9, 11–19, 21,
                                                                     and 22 of the ‘338 patent
    Morillon in view of       Amended        Obviousness under       claim 8 of the ‘823 patent,
    either U.S. Patent       Appendix A      35 U.S.C. § 103 (pre-
    App. Pub. No.                            AIA)                    claim 10 of the ‘001
    2005/0254922                                                     patent, and
    (“Sudenga I”) or U.S.
    Patent Appn. Pub.                                                claim 10 of the ‘338
    No. 2005/0263372                                                 patent
    (“Sudenga II”)
                                                                     (i.e., the so-called
                                                                     “tractor” claims)
    Permanent Silo            Amended        Obviousness under       claims 1 and 6 of the ‘823
    Sweep Augers,            Appendix B16    35 U.S.C. § 103 (pre-   patent,
    Technical Data Sheet                     AIA)
    TDS-460 (“Chief”)                                                claims 1, 6–8, and 11 of
    and EP 1 516 836 A1                                              the ‘001 patent, and
    (“Lizambard”)
                                                                     claims 1, 4–9, 11–19, 21,
                                                                     and 22 of the ‘338 patent
    Chief and Lizambard       Amended        Obviousness under       claim 8 of the ‘823 patent,
    in view of Sudenga I     Appendix B1     35 U.S.C. § 103 (pre-
    or II                                    AIA)                    claim 10 of the ‘001
                                                                     patent, and

                                                                     claim 10 of the ‘338
                                                                     patent

                                                                     (i.e., the tractor claims)
    Chief in view of U.S.   (New) Appendix   Obviousness under       claims 1 and 6 of the ‘823
    Published Patent              B2         35 U.S.C. § 103 (pre-   patent,
    Application No.                          AIA)
    2008/0131242                                                     claims 1, 6–8, and 11 of
    (“Duffy”), U.S.                                                  the ‘001 patent, and

6
 Global’s Amended Appendix B1 was labeled as “Amended” in its file name but, unlike other
amended invalidity contention claim charts, Amended Appendix B1 did not explicitly use the
word “Amended” in the title that appears at the top of the Amended Appendix B1 chart itself.
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Alleged Prior Art or    Claim Chart         Invalidity               Asserted Claims
     Reference           Appendix          Contention(s)
Patent No. 4,063,654
(“Shivvers”), U.S.                                              claims 1, 4–9, 11–19, 21,
Patent No. 3,233,755                                            and 22 of the ‘338 patent
(“Glenn”), or U.S.
Patent No. 3,064,831
(“Cook”)
Chief and Duffy,       (New) Appendix   Obviousness under       claim 8 of the ‘823 patent,
Shivvers, Glenn, or          B2         35 U.S.C. § 103 (pre-
Cook in view of                         AIA)                    claim 10 of the ‘001
Sudenga I or II                                                 patent, and

                                                                claim 10 of the ‘338
                                                                patent

                                                                (i.e., the tractor claims)
Sweep Augers DNS         Amended        Printed Publication     all Asserted Claims
& BM Sweeping           Appendix C      anticipation under
Brush (“Denis I”)                       unspecified
                                        subsection of 35
                                        U.S.C. § 102 (pre-
                                        AIA)
Denis I in view of       Amended        Obviousness under       claim 8 of the ‘823 patent,
Sudenga I or II         Appendix C      35 U.S.C. § 103 (pre-
                                        AIA)                    claim 10 of the ‘001
                                                                patent, and

                                                                claim 10 of the ‘338
                                                                patent

                                                                (i.e., the tractor claims)
Vis de Vidange           Amended        Printed Publication     all Asserted Claims
integrale Integral      Appendix D      anticipation under
Sweep Augers                            unspecified
(“Denis II”)                            subsection of 35
                                        U.S.C. § 102 (pre-
                                        AIA)
Denis II in view of      Amended        Obviousness under       claim 8 of the ‘823 patent,
Sudenga I or II         Appendix D      35 U.S.C. § 103 (pre-
                                        AIA)                    claim 10 of the ‘001
                                                                patent, and

                                                                claim 10 of the ‘338
                                                                patent


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Alleged Prior Art or     Claim Chart         Invalidity              Asserted Claims
     Reference            Appendix          Contention(s)
                                                                 (i.e., the tractor claims)
U.S. Patent No.           Amended        Anticipation under      claims 1 and 6 of the ‘823
4,655,666                Appendix E      unspecified             patent,
(“Cantenot”)                             subsection of 35
                                         U.S.C. § 102 (pre-      claims 1, 6, 7, 8, and 11 of
                                         AIA)                    the ‘001 patent, and

                                                                 claims 1, 4–19, 21, and 22
                                                                 of the ‘338 patent
Cantenot in view of       Amended        Obviousness under       claim 8 of the ‘823 patent
Sudenga I or II          Appendix E      35 U.S.C. § 103 (pre-   and
                                         AIA)
                                                                 claim 10 of the ‘001
                                                                 patent

                                                                 (i.e., the tractor claims)
U.S. Patent No.           Amended        Anticipation under      claim 1 of the ‘823 patent,
3,449,840 (“Francis”)    Appendix F      unspecified
                                         subsection of 35        claims 1, 6–8, and 11 of
                                         U.S.C. § 102 (pre-      the ‘001 patent, and
                                         AIA)
                                                                 claims 1, 4–9, 11–19, 21,
                                                                 and 22 of the ‘338 patent
Francis in view of       Unspecified     Obviousness under       claims 1 and 6 of the ‘823
Lizambard                 hybrid of      35 U.S.C. § 103 (pre-   patent,
                          Amended        AIA)
                        Appendix F and                           claims 1, 6–8, and 11 of
                          Amended                                the ‘001 patent, and
                         Appendix B1
                                                                 claims 1, 4–9, 11–19, 21,
                                                                 and 22 of the ‘338 patent
Francis in view of        Amended        Obviousness under       claim 1 of the ‘823 patent,
Duffy, Shivvers,         Appendix F      35 U.S.C. § 103 (pre-
Glenn, or Cook                           AIA)                    claims 1, 6–8, and 11 of
                                                                 the ‘001 patent, and

                                                                 claims 1, 4–9, 11–19, 21,
                                                                 and 22 of the ‘338 patent
Francis and Duffy,        Amended        Obviousness under       claim 8 of the ‘823 patent,
Shivvers, Glenn, or      Appendix F      35 U.S.C. § 103 (pre-
Cook in view of                          AIA)                    claim 10 of the ‘001
Sudenga I or II                                                  patent, and



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Alleged Prior Art or     Claim Chart           Invalidity              Asserted Claims
     Reference            Appendix            Contention(s)
                                                                   claim 10 of the ‘338
                                                                   patent
Lizambard in view of       Amended         Obviousness under       Unspecified, but
Duffy, Shivvers,          Appendix G       35 U.S.C. § 103 (pre-   presumably
Glenn, or Cook                             AIA)
                                                                   claims 1 and 6 of the ‘823
                                                                   patent,

                                                                   claims 1, 6, 7, 8, and 11 of
                                                                   the ‘001 patent, and

                                                                   claims 1, 4–19, 21, and 22
                                                                   of the ‘338 patent
Lizambard and              Amended         Obviousness under       Unspecified, but
Duffy, Shivvers,          Appendix G       35 U.S.C. § 103 (pre-   presumably
Glenn, or Cook in                          AIA)
view of Sudenga I or                                               claim 8 of the ‘823 patent,
II
                                                                   claim 10 of the ‘001
                                                                   patent, and

                                                                   claim 10 of the ‘338
                                                                   patent
Neuero stationäre       (New) Appendix     Printed Publication     all Asserted Claims
Fegeschnecke für NL           H            anticipation under
Silo Typ NFS                               unspecified
(“Neuero”)                                 subsection of 35
                                           U.S.C. § 102 (pre-
                                           AIA)
Neuero in view of         Unspecified      Obviousness under       all Asserted Claims
Lizambard, Duffy,        hybrid of (new)   35 U.S.C. § 103 (pre-
Shivvers, Glenn,        Appendix H and     AIA)
and/or Cook                Amended
                        Appendix B1 or
                        (new) Appendix
                               B2
Neuero or Denis II in   (New) Appendix     Obviousness under       claim 8 of the ‘823 patent,
view of Sudenga I or            H          35 U.S.C. § 103 (pre-
II                                         AIA)                    claim 10 of the ‘001
                                                                   patent, and

                                                                   claim 10 of the ‘338
                                                                   patent


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 Alleged Prior Art or       Claim Chart            Invalidity               Asserted Claims
      Reference              Appendix             Contention(s)
                                                                       (i.e., the tractor claims)

(Ex. AA; see also Exs. 12, 18, and 22; Exs. AB-AF and BE).

        200.   Global’s Amended Invalidity Contentions differed from its original Invalidity

Contentions served on February 8, 2019, including new reliance on a Neuero reference that was

not previously produced by Global or relied upon by Global in its original invalidity contentions.

(Contrast Ex. AA with Ex. BF; see also Ex. BG). Global amended its invalidity contentions, such

as those based on Chief, in view of the Court’s December 2019 claim construction ruling that

rejected all of the Global’s proposed constructions for the two disputed claim terms. (Id.; see also

ECF 102).

        201.   In its original Invalidity Contentions Global listed the publication date of Denis I

(“Sweep Augers DNS & BM Sweeping Brush”) as “Currently unknown” but then in its Amended

Invalidity Contentions made a new contention that Denis I was allegedly published “Prior to

2010.” (Ex. AA, p. 3; Ex. BF, p. 3). In an April 9, 2019 interrogatory answer that was never

supplemented, Global stated, “Global is presently unaware of the publication date of the Denis I

document . . . .” (Ex. E, p. 3). When asked for evidence supporting its new contention that Denis

I was allegedly published “Prior to 2010” Global’s counsel did not produce or identify any

evidence. (Exs. BE and BG). Thus, Denis I is not prior art against any Asserted Claims. (Id.; Ex.

E, p. 3).

        202.   Invalidity arguments in Global’s briefing on its motion for partial summary

judgment differed from invalidity contentions made in Global’s Amended Invalidity Contentions.

(ECF 119, 132; Ex. AA; Ex. AU at ¶ 36; see also ECF 133, 135, 136).




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       203.    Sudenga has previously provided rebuttals to Global’s Amended Invalidity

Contentions in its answer (including supplements) to Global’s Interrogatory No. 18, (Ex. 15), and

Sudenga has also filed a response brief (ECF 126) with its responses to invalidity arguments made

in Global’s opening brief on Global’s motion for partial summary judgment (ECF 119, 132).

       204.    During examination of the application for ‘823 Patent, the USPTO considered

Shivvers and Sudenga I and II, and granted the ‘823 Patent over those and other references. (Ex.

1, p. 1). During examination of the application for the ‘001 Patent, the USPTO considered Francis,

Glenn, Shivvers, and Sudenga I and II, and granted the ‘001 Patent over those and other references.

(Ex. 2, pp. 1-2; Ex. Q; see also Ex. 1, p. 1; MPEP § 609.02 (I) and (II)(A)(2)). During examination

of the application for the ‘338 Patent, the USPTO considered Francis, Glenn, Shivvers, Sudenga I

and II, Chief, Lizambard, Cantenot, Morillon, Denis II, Denis I, as well as a Non-infringement and

Invalidity Claim Chart prepared by Global, and granted the ‘338 Patent over those references and

materials as well as over other references and materials of record. (Ex. 3, pp. 1-2; Ex. F; see also

Ex. 1, p. 1; Ex. 2, pp. 1-2; MPEP § 609.02 (I) and (II)(A)(2); SOF 86).

       205.    During examination of the application for the ‘989 Patent, the USPTO considered

Francis, Glenn, Shivvers, Duffy, Cook, Meyer, Sudenga I and II, Chief, Lizambard, Cantenot,

Morillon, Denis II, Denis I and Global’s original Invalidity Contentions dated February 8, 2019,

which included explanations of Global’s arguments regarding alleged lack of written description

support in Sudenga’s PPA and the Kaskie Bros. sale from September 2009. (Ex. G, pp. 1-2; see

also Ex. 1, p. 1; Ex. 2, pp. 1-2; Ex. 3, pp. 1-2; MPEP § 609.02 (I) and (II)(A)(2); SOF 88).

       206.    Francis was cited by Examiner Glenn Myers at the USPTO, (Ex. 2, pp. 1-2), who

concluded when examining the application for the ‘001 Patent that “the prior art does not include

a collector ring in combination with a housing surrounding the collector ring where the housing is



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adjacent a sweep apparatus on one side of a pivot pipe and adjacent a drive unit for the sweep on

the other side of the pivot pipe as recited in the claims.” (Ex. R; Ex. Q at SII003549; Ex. 2, pp. 1-

2; see also Ex. AU at ¶ 12).

       207.    Francis in view of Cook, Glenn, Shivvers, Duffy, Meyer, or Lizambard, and further

in view of Sudenga I or II for certain dependent claims (the so-called “tractor claims”), do not

render obvious any of the Asserted Claims of the Patents-in-Suit. (Ex. AU at ¶¶ 10-16 and 46-47;

see also Exs. AA and AE). For instance, Francis does not disclose, teach or suggest “a housing

surrounding the collector ring” as recited by the Asserted Claims of the ‘823 Patent and the ‘001

Patent or “a housing covering at least a top of the collector ring” as recited by the Asserted Claims

of the ‘338 Patent, and such a teaching missing from Francis is not supplied by any of the other

cited art. (Ex. AU at ¶¶ 13, 14; see also Ex. R; SOF 122, 123, 202-204). And there would not

have been any motivation for a person of ordinary skill in the art to modify the teachings of Francis

based on the teachings of any of the other art cited by Global to arrive at the subject matter recited

in the Asserted Claims or as suggested in Global’s Amended Invalidity Contentions. (Ex. AU at

¶¶ 10, 14, 46, 47).

       208.    Chief in view of Cook, Glenn, Shivvers, or Duffy, and further in view of Sudenga

I or II for certain dependent claims (the so-called “tractor claims”), do not render obvious any of

the Asserted Claims of the Patents-in-Suit. (Ex. AU at ¶¶ 17-21; see also Exs. AA and AB). For

instance, Chief does not show, teach, or disclose “a housing surrounding the collector ring” or “a

housing covering at least a top of the collector ring” as recited by the Asserted Claims. (Ex. AU

at ¶ 19; see also Ex. 14; SOF 117, 118, 122-124). And there would not have been any motivation

for a person of ordinary skill in the art to modify the teachings of Chief based on the teachings of

any of the other art cited by Global to arrive at the subject matter recited in the Asserted Claims or



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as suggested in Global’s Amended Invalidity Contentions. (Ex. AU at ¶¶ 17, 20, 21, 46, 47; see

also SOF 124).

       209.    Lizambard in view of Cook, Glenn, Shivvers, Duffy, or Meyer, and further in view

of Sudenga I or II for certain dependent claims (the so-called “tractor claims”), do not render

obvious any of the Asserted Claims of the Patents-in-Suit. (Ex. AU at ¶¶ 22-25 and 46-47; see

also Exs. AA and AF). For instance, Lizambard does not show, teach, or disclose a collector ring

or slip ring at all, and therefore does not show, teach, or disclose “a housing surrounding the

collector ring” or “a housing covering at least a top of the collector ring” as recited by the Asserted

Claims. (Ex. AU at ¶ 24; see also Ex. 13; SOF 114-116, 122-124). And there would not have

been any motivation for a person of ordinary skill in the art to modify the teachings of Lizambard

based on the teachings of any of the other art cited by Global to arrive at the subject matter recited

in the Asserted Claims or as suggested in Global’s Amended Invalidity Contentions. (Ex. AU at

¶¶ 22, 24, 25, 46, 47; see also SOF 124).

       210.    Cantenot does not disclose each and every limitation of the Asserted Claims

arranged as recited in those Asserted Claims and therefore does not anticipate any of the Asserted

Claims of the Patents-in-Suit, and Cantenot in view of Sudenga I or II does not render obvious any

dependent claims of the Asserted Claims of the Patents-in-Suit that Global refers to as tractor

claims. (Ex. AU at ¶¶ 26-33 and 46; see also Exs. AA and AD). For instance, Global’s Amended

Invalidity Contentions cite to embodiments in Cantenot that are hydraulically-powered and

therefore does not show, teach, or disclose “a collector ring” as claimed or “a housing surrounding

the collector ring” or “a housing covering at least a top of the collector ring” as recited by the

Asserted Claims. (Ex. AU at ¶¶ 28, 29). Global’s Amended Invalidity Contentions rely on

anticipation rather than obviousness arguments regarding the independent Asserted Claims, and



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do not allege any reasons or motivations to pick and choose elements from multiple, distinct

embodiments and combine them in particular ways. (Ex. AU at ¶¶ 28, 30-32; see also Exs. AA

and AD). And there would not have been any motivation for a person of ordinary skill in the art

to modify the teachings of Cantenot based on the teachings of Sudenga I or II to arrive at the

subject matter recited in the Asserted Claims that Global refers to as the “tractor claims”. (Ex. AU

at ¶¶ 33 and 46).

       211.    Denis II does not disclose each and every limitation of the Asserted Claims

arranged as recited in those Asserted Claims and therefore does not anticipate any of the Asserted

Claims of the Patents-in-Suit, and Denis II in view of Sudenga I or II does not render obvious any

dependent claims of the Asserted Claims of the Patents-in-Suit that Global refers to as tractor

claims. (Ex. AU at ¶¶ 41-46; see also Exs. AA and AC). For instance, Denis II does not show,

teach, or disclose a collector ring or slip ring at all, and therefore does not show, teach, or disclose

“a housing surrounding the collector ring” or “a housing covering at least a top of the collector

ring” as recited by the Asserted Claims. (Ex. AU at ¶¶ 43, 44; see also SOF 114-116). And there

would not have been any motivation for a person of ordinary skill in the art to modify the teachings

of Denis II based on the teachings of Sudenga I or II to arrive at the subject matter recited in the

Asserted Claims that Global refers to as the “tractor claims”. (Ex. AU at ¶¶ 45, 46).

       212.    The Asserted Claims of the Patents-in-suit are each valid over all of the references

cited by Global. (SOF 85-134, 203-211; Ex. 15, pp. 36-87; see also, generally, Exs. B and AU).

       213.    Claims 8, 9, and 14 of the ‘338 appear in the same patent as claim 4 of the ‘338

Patent. (Ex. 3). Claims 8, 9, and 14 of the ‘338 are therefore valid under the double patenting

provisions of 35 U.S.C. § 101. (Id.).




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                               ARGUMENT AND AUTHORITIES

III.     INTRODUCTION

         Global should be found liable for infringement of the Patents-in-Suit7 and all of its defenses

and counterclaims should be denied. A preponderance of undisputable evidence establishes that

Global’s NexGen 3000 bin sweep product (the “Accused Product”) falls within the literal scope of

the Asserted Claims, as construed by the Court. (SOF 178). Importantly, Global’s NexGen 3000

bin sweep product has a “collector ring” (or slip ring) and a “housing” as recited by the Asserted

Claims, with the “collector ring” located above the floor for “zero bin entry” operation.

                                             (Ex. AR; Ex 9)




         Notably, in its own prior motion for partial summary judgment, Global did not make any

non-infringement arguments with regard to the ‘001 Patent or the ‘338 Patent. (SOF 153). And

for the ‘823 Patent, Global’s position was both contrary to the claim construction order in this case

and an unconvincing exercise in skirting or distorting Sudenga’s actual Infringement Contentions.

         Undisputable evidence also indicates Global’s infringement was willful. For instance,

while developing Global’s Accused Product one of Global’s engineers photographed Sudenga’s

D150 product covered by the Patents-in-Suit at a trade show, and despite arguing to Sudenga that

there was no infringement Global’s agents privately looked for possible product re-designs of the

Accused Product and privately acknowledged that “it is possible that it does indeed infringe.”



7
 For summary judgment purposes, Sudenga once again treats the ‘338 Patent as representative
of all the Patents-in-Suit, as it previously did during claim construction.
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(SOF 135, 188-196).




         (SOF 193).

        Lastly, Global will not be able to establish any of its Amended Invalidity Contentions by

clear and convincing evidence. The U.S. Patent & Trademark Office (“USPTO”) previously

considered all but one of the references Global cites and the sole “new” reference (Neuero) is not

old enough to qualify as prior art and therefore has no impact on validity.8 (SOF 86; Ex. 15). The

contents of the other cited references are substantively insufficient to establish invalidity, as the

USPTO already concluded, but some of the other art identified in Global’s Amended Invalidity

Contentions also does not even qualify as a prior art “printed publication”. Global’s invalidity

arguments also fail when they impugn the disclosure of Sudenga’s provisional patent application

(“PPA”) in a self-serving manner that fails to take into account the level of ordinary skill in the art

for subject matter in the so-called “predictable arts”. In sum, Global puts forward no indication of

any error in the USPTO’s previous consideration of the most relevant art and instead puts forward

an objectively weak set of arguments that merely ask this Court to second-guess the USPTO and

its technical expertise. Such defenses fall short and should be disposed of on summary judgment.

IV.     APPLICABLE LAW

        A.     Summary Judgment




8
 Sudenga recently was granted the ‘989 Patent, which is family related to the Patents-in-Suit and
shares a priority claim to Sudenga’s PPA. The USPTO considered Global’s original Invalidity
Contentions (and all art cited therein, including the 2009 Kaskie Bros. sale) and granted the ‘989
Patent over those materials. (SOF 87, 88, 165, 205; Exs. G and H; Ex. AU at ¶ 46).
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       “Summary judgment is appropriate if the moving party demonstrates that ‘no genuine

dispute’ exists about ‘any material fact’ and that it is ‘entitled to a judgment as a matter of law.’”

Neonatal Prod. Group, Inc. v. Shields, 312 F. Supp. 3d 1010, 1012 (D.Kan. 2018) (quoting FED.

R. CIV. P. 56(c)); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-52 (1986). The

moving party “need not negate the non-movant’s claim, but need only point to an absence of

evidence to support the non-movant’s claim.” Kannady v. City of Kiowa, 590 F.3d 1161, 1169

(10th Cir. 2010) (citation omitted).

       B.      Infringement

       The unauthorized making, using, offering to sell, selling, or importing of a patented

invention constitutes infringement. 35 U.S.C. § 271(a). Infringement analysis is a two-step

process that begins with claim construction followed by comparison of the accused product to the

construed claims. Ethicon Endo-Surgery, Inc. v. U.S. Surgical Corp., 149 F.3d 1309, 1315 (Fed.

Cir. 1998) (citations omitted). The comparison step is a question of fact. Id.

       C.      Validity

            1. Burden and Standard of Proof for Validity Challenges

       Granted patents are presumed valid and a party challenging validity carries the burden of

proof to try to establish invalidity by clear and convincing evidence. 35 U.S.C. § 282(a) (“Each

claim of a patent . . . shall be presumed valid”); Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 95

(2011). The core of this long-standing principle is “that one otherwise an infringer who assails the

validity of a patent fair upon its face bears a heavy burden of persuasion, and fails unless his

evidence has more than a dubious preponderance.” Radio Corp. of Am., Inc. v. Radio Eng’g Labs.,

Inc., 293 U.S. 1, 8 (1934) (citation omitted). Under pre-America Invents Act (pre-AIA) law,

patentability is generally assessed based on who was first to invent (as opposed to the first to file).

35 U.S.C. § 102 (pre-AIA); Hybritech Inc. v. Monoclonal Antibodies, Inc., 802 F.2d 1367, 1380

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(Fed. Cir. 1986) (articles dated well after the date of conception and within one year of the patent’s

filing date were neither § 102(a)/103 nor § 102(b)/103 prior art).

       The Supreme Court has emphasized the USPTO’s “considered judgment” on evidence that

its examiners with technological subject matter expertise had available when originally granting

the challenged patent(s). Microsoft, 564 U.S. at 97,109-12; RCA, 293 U.S. at 7. “When an attacker

simply goes over the same ground travelled by the [US]PTO, part of the burden is to show that the

[US]PTO was wrong in its decision to grant the patent.” Am. Hoist & Derrick Co. v. Sowa & Sons,

Inc., 725 F.2d 1350, 1360 (Fed. Cir. 1984) (emphasis in original). A defendant has “the added

burden of overcoming the deference that is due to a qualified government agency presumed to

have properly done its job, which includes one or more examiners who are assumed to have some

expertise in interpreting the references and to be familiar from their work with the level of skill in

the art and whose duty it is to issue only valid patents.” Id. at 1359; accord Cadence Pharms. Inc.

v. Excela PharmSci Inc., 780 F.3d 1364, 1375 (Fed. Cir. 2015); Sciele Pharma Inc. v. Lupin Ltd.,

684 F.3d 1253, 1260-61 (Fed. Cir. 2012). “Where . . . the patent office considered prior art as

close to the patented invention as any suggested to the court, the court should be extremely

reluctant to substitute its opinion for the expertise of the patent office.” Ingersoll-Rand Co. v.

Brunner & Lay, Inc., 474 F.2d 491, 496 (5th Cir. 1973) (emphasis added).

           2. Anticipation and the Requirements to Qualify a Reference as “Prior Art”

       35 U.S.C. § 102 (pre-AIA) set forth novelty requirements for patentability. “Invalidity on

the ground of ‘anticipation’ requires lack of novelty of the invention as claimed. The invention

must have been known to the art in the detail of the claim; that is, all of the elements and limitations

of the claim must be shown in a single prior reference, arranged as in the claim.” Karsten Mfg.

Corp. v. Cleveland Golf Co., 242 F.3d 1376, 1383 (Fed. Cir. 2001) (emphasis added) (citations



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omitted); see also Net MoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359, 1371 (Fed. Cir. 2008)

(anticipation not proven by multiple, distinct teachings an artisan might somehow combine).

        But in order to qualify as “prior art” against a patent, a given reference must satisfy the

requirements of at least one subsection of 35 U.S.C. § 102 (pre-AIA). First, a given reference

must be old enough to qualify as prior art. A “critical date” under pre-AIA law refers to either the

date of invention—for § 102(a), (e), and (g)—or one year before the priority date—for § 102(b).

Anything that falls after the “critical date” is not prior art under pre-AIA § 102. Second, certain

knowledge, use, sales, or the like outside the United States (i.e., not “in this country”) did not

qualify as prior art regardless of the date. 35 U.S.C. § 102(a), (b), (e), and (g) (pre-AIA).

        Prior art under § 102(a), (b) and (g) must also generally be public. OddzOn Prods., Inc. v.

Just Toys, Inc., 122 F.3d 1396, 1402 (Fed. Cir. 1997). This “involves some type of public

disclosure and is not satisfied by knowledge of a single person, or a few persons working together.”

Ralston Purina Co. v. Far-Mar-Co, Inc., 586 F.Supp. 1176, 1216 (D. Kan. 1984), aff'd in part and

rev'd in part on other grounds, 772 F.2d 1570 (Fed. Cir. 1985); see also Minn. Mining & Mfg. Co.

v. Chemque, Inc., 303 F.3d 1294, 1301 (Fed. Cir. 2002). The “public” requirement of pre-AIA

§ 102(a) means “one who invents something previously known or used in a literal sense, but which

has been forgotten, abandoned, concealed, or otherwise ‘lost,’ is the first to ‘enrich[] the art’ by

his disclosure and is therefore the original inventor.” BASF Corp. v. SNF Holding Co., 955 F.3d

958, 965 (Fed. Cir. 2020) (citation omitted; alternation in original).

        Moreover, not all documents are “printed publications” under pre-AIA § 102(a) or (b). “In

order to qualify as a printed publication within the meaning of § 102, a reference ‘must have been

sufficiently accessible to the public interested in the art’” before the critical date. In re Lister, 583

F.3d 1307, 1311 (Fed. Cir. 2009) (citing In re Cronyn, 890 F.2d 1158, 1160 (Fed. Cir. 1989)).



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“‘[P]ublic accessibility’ has been called the touchstone in determining whether a reference

constitutes a ‘printed publication’ . . . .” In re Hall, 781 F.2d 897, 897-899 (Fed. Cir. 1986). “A

reference will be considered publicly accessible if it was ‘disseminated or otherwise made

available to the extent that persons interested and ordinarily skilled in the subject matter or art

exercising reasonable diligence, can locate it.’” Blue Calypso, LLC v. Groupon, Inc., 815 F.3d

1331, 1347-51 (Fed. Cir. 2016) (citation omitted); see also In re Wyer, 655 F.2d 221, 226 (CCPA

1981). Conversely, limited distribution may not amount to statutory “publication” unless the

material is so situated that “anyone who chooses may avail himself of the information it contains.”

In re Bayer, 568 F.2d 1357, 1360, 1362 (CCPA 1978) (citation omitted). Such limitations ensure

that courts do not “depart from what it means to publish something.” Samsung Elecs. Co., Ltd. v.

Infobridge Pte. Ltd., 929 F.3d 1363, 1372 (Fed. Cir. 2019) (emphasis in original); see also

Acceleration Bay, LLC v. Activision Blizzard Inc., 908 F.3d 765, 773 (Fed. Cir. 2018).

       “A work of public character is such a book or other printed document as is intended and

employed for the communication of ideas to persons in general, as distinguished from particular

individuals. Private communications, although printed, do not come under this description,

whether designed for the use of single persons or of a few restricted groups of persons.” Bayer,

568 F.2d at 1360 (citation omitted; emphasis added); see also Samsung, 929 F.3d at 1375

(expressing reluctance to assume email should be treated the same as public disclosure and

therefore not finding publicly accessibility). Courts use the word “‘disseminate’ in its literal sense,

i.e. ‘make widespread’ or ‘to foster general knowledge of[]’” rather than in the narrower sense,

which merely “requires distribution of reproductions or photocopies.” In re Klopfenstein, 380 F.3d

1345, 1348 n.3 (Fed. Cir. 2004) (citation omitted). Thus, limited or isolated distributions or

disseminations are insufficient to establish that a reference was a “printed publication”, particularly



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where the document was restricted. Cordis Corp. v. Boston Scientific Corp., 561 F.3d 1319, 1333-

35 (Fed. Cir. 2009) (“agreement of confidentiality may defeat a finding of public accessibility.”);

N. Telecom, Inc. v. Datapoint Corp., 908 F.2d 931, 936-37 (Fed. Cir. 1990) (documents stating

“Reproduction or further dissemination is not authorized” not “printed publications”); Badowski

v. U.S., 164 F.Supp. 252, 255-56 (C. Cl. 1958) (calling a document a printed publication that could

not be found in a library or the like for which defendant had to resort to a diplomatic request to

obtain “border[ed] on the ridiculous”); Allied Tube and Conduit Corp. v. John Maneely Co., 125

F. Supp. 2d 987, 990 (D. Ariz. 2000) (letter sent to distributors rather than end users and marked

confidential was not accessible to the interested public and did not constitute a publication); Goss

Int’l Americas, Inc. v. Graphic Mgmt. Assocs., Inc., 739 F. Supp. 2d 1089, 1119-20 (N.D. Ill. 2010)

(manual not a printed publication because at most fifteen customers received it and it bore a notice

prohibiting copying or distribution).

           3. Obviousness

       Patent claims must have been non-obvious “at the time the invention was made to a person

having ordinary skill in the art to which said subject matter pertains.” 35 U.S.C. § 103 (pre-AIA);

Graham v. John Deere Co. of Kan. City, 383 U.S. 1 (1966). Invalidity defenses require “some

articulated reasoning with some rational underpinning to support the legal conclusion of

obviousness.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007) (citation omitted). Courts

must avoid “hindsight bias and must be cautious of arguments reliant upon ex post reasoning.” Id.

at 421; see also Graham, 383 U.S. at 36. “[A] patent . . . is not proved obvious merely by

demonstrating that each of its elements was, independently, known in the prior art.” KSR, 550

U.S. at 418; see also ACS Hosp. Sys., Inc. v. Montefiore Hosp., 732 F.2d 1572, 1577 (Fed. Cir.

1984); Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064, 1073 (Fed. Cir. 2015). “[R]eferences to

‘common sense’—whether to supply a motivation to combine or a missing limitation—cannot be
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used as a wholesale substitute for reasoned analysis and evidentiary support, especially when

dealing with a limitation missing from the prior art references specified.” Arendi SARL v. Apple

Inc., 832 F.3d 1355, 1362-63 (Fed. Cir. 2016); see also In re Van Os, 844 F.3d 1359, 1361 (Fed.

Cir. 2017); Impax Labs. Inc. v. Lannett Holdings Inc., 893 F.3d 1372, 1380 (Fed. Cir. 2018).

Objective indicia of non-obviousness, (secondary considerations) are also relevant. Graham, 383

U.S. at 36; Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530, 1538 (Fed. Cir. 1983).

           4. Patent “Enablement” and “Written Description” Disclosure Requirements

       Section 112 of the patent laws sets forth enablement and written description requirements.

The test for enablement is whether one reasonably skilled in the art could make or use the invention

from the disclosures in the patent coupled with information known in the art without undue

experimentation. United States v. Telectronics, Inc., 857 F.2d 778, 785 (Fed. Circ. 1988) (citations

omitted). This assessment depends on the predictability of the technological art involved. As long

as the specification discloses at least one way of making and using the claimed invention that bears

a reasonable correlation to the entire scope of the claim, then the enablement requirement of §

112 is satisfied. In re Fisher, 427 F.2d 833, 839 (CCPA 1970); Engel Inds., Inc. v. Lockformer

Co., 946 F.2d 1528, 1533 (Fed. Cir. 1991). Disclosure of even a single species can enable a genus

claim in a predictable art (such as in the mechanical or electrical arts). Spectra-Physics, Inc. v.

Coherent, Inc., 827 F.2d 1524, 1533 (Fed. Cir. 1987) (citations omitted), cert. denied, 484 U.S.

954 (1987); see also MPEP § 2164.03 (less information needs disclosure in the predicable arts).

       The written description requirement has a similar standard: “disclosure of a single species

within a genus may be enough support for a claim directed to the genus.” Bilstad v. Wakalopulos,

386 F.3d 1116, 1124-26 (Fed. Cir. 2004); see also Ariad Pharms., Inc. v. Eli Lilly and Co., 598

F.3d 1336, 1352 (Fed. Cir. 2010) (en banc) (“written description and enablement often rise and

fall together”); Union Oil Co. of Cal. v. Atl. Richfield Co., 208 F.3d 989, 1000 (Fed. Cir. 2000)
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(“written description questions are intensely factual, and should be dealt with on a case-by-case

basis”). “[T]hat a claim may be broader than the specific embodiment disclosed in a specification

is in itself of no moment.” In re Rasmussen, 650 F.2d 1212, 1215 (CCPA 1981) accord Martek

Biosciences Corp. v. Nutrinova, Inc., 579 F.3d 1363, 1371 (Fed. Cir. 2009); see also Ariad, 598

F.3d at 1351; Hynix Semiconductor Inc. v. Rambus Inc., 645 F.3d 1336, 1352 (Fed. Cir. 2011).

        No particular form of “written description” disclosure is required. Moba, B.V. v. Diamond

Automation, Inc., 325 F.3d 1306, 1321 (Fed. Cir. 2003); see also Ariad, 598 F.3d at 1352

(specification need not recite the claimed invention in haec verba). Even “drawings alone may

provide a ‘written description’ of an invention as required by § 112.” Vas-Cath, Inc. v. Mahurkar,

935 F.2d 1555, 1565 (Fed. Cir. 1991); Hologic, Inc. v. Smith & Nephew, Inc., 884 F.3d 1357,

1361-64 (Fed. Cir. 2018) (“The written description does not require that every claimed element be

illustrated in the figures, particularly in predictable arts”).

            5. Priority to Provisional Patent Applications

        Nonprovisional patent applications can claim priority to the filing date of an earlier

provisional patent application (“PPA”), and a later nonprovisional

        application for patent filed . . . for an invention disclosed in the manner provided
        by section 112(a) (other than the requirement to disclose the best mode) in a [prior]
        provisional application filed under section 111(b) . . . , shall have the same effect,
        as to such invention, as though filed on the date of the [earlier] provisional
        application filed under section 111(b) . . . .

35 U.S.C. § 119(e)(1) (emphasis added); see also 37 C.F.R. §§ 1.9(a)(2) and 1.53(c); 35 U.S.C. §

120 (non-provisional priority). Priority to the PPA filing date is secured if a person of ordinary

skill in the art can recognize support in the PPA’s disclosure for the subject matter claimed in the

later nonprovisional. Johnson Worldwide Assoc., Inc. v. Zebco Corp., 175 F.3d 985, 993 (Fed.

Cir. 1999); New Railhead Mfg., LLC v. Vermeer Mfg. Co., 298 F.3d 1290, 1294 (Fed. Cir. 2002).

V.      ARGUMENTS
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       A.      Global’s Accused NexGen 3000 Product Infringes Each of the Patents-in-Suit

            1. Claims 1, 4-19, 21 and 22 of the ‘338 Patent are Directly, Literally Infringed

       Global’s Accused Product meets claims 1, 4-19, 21 and 22 of the ‘338 Patent, as construed

by the Court, and therefore infringes those claims. (SOF 177, 178, 185-187). 35 U.S.C. § 271(a);

Ethicon, 149 F.3d at 1315. The presence of all limitations of the Asserted Claims in the Accused

Product is detailed in Sudenga’s Amended Infringement Contentions, which annotate various

images of the Accused Product to identify relevant features.9 (Ex. 5; SOF 187).

                                                       (Ex. 5; see also Ex. 9; Ex. L; Ex. AR)




       For instance, the accused NexGen 3000 product includes “a pivot stand” or “pivot pipe,”

“a collector ring having a first stationary portion and a second rotatable portion, wherein the

stationary portion is attached to the pivot pipe [or pivot stand] above the floor grate,” “a linear

conveyor” (in the form of an auger with flighting), a “drive unit,” and “a housing covering at least

a top of the collector ring” as recited by independent claims 1, 15, and 19. (emphasis added) (SOF

185, 187). A sales brochure specifically mentions that the Accused Product has an “above floor


9
 Although the online video of the Accused Product cited in Sudenga’s Infringement Contentions
has been taken down by Global, other videos show its operation in a grain bin. Denis Catalan,
“NexGen 3150 w Tru Klean 1st Pass” at <https://www.youtube.com/watch?v=8kOzuvIdRm0>
(Sept. 12, 2018); Denis Catalan, “NexGen 3150 w Tru Klean 2nd Pass” at
<https://www.youtube.com/watch?v=XennkOShyPk> (Sept. 12, 2018). (See Ex. BK).
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Electric Slip Ring.”     (Ex. AR).     The Court construed the term “collector ring” as “[a]n

electromechanical device also called a ‘slip ring’ that allows the transmission of power and/or

electrical signals from a stationary to a rotating structure. Further, a ‘housing’ recited in the claims

of the asserted patents is separate from a casing, enclosure, or the like that, if present, is not part

of the recited ‘collector ring’ itself.” (SOF 148). The Court also construed “linear conveyor” as

“[a] mechanism for moving solid material, including an auger with flighting, . . . or the like.” (Id.).

The Accused Product reads on those claim limitations as construed. (SOF 177-178).

        Global’s prior motion for partial summary judgment did not seek summary judgment of

noninfringement of the ‘338 Patent. (SOF 152, 153; but see Ex. AT, p. 3).

            2. Claims 1, 6-8, 10 and 11 of the ‘001 Patent are Directly, Literally Infringed

        Global’s Accused Product meets claims 1, 6-8, 10 and 11 of the ‘001 Patent, as construed

by the Court, and therefore infringes those claims. (SOF 177, 178, 183, 184, 187). 35 U.S.C. §

271(a); Ethicon, 149 F.3d at 1315. The presence of all the limitations of the Asserted Claims in

the Accused Product is shown in detail in Sudenga’s Amended Infringement Contentions, which

reproduce various drawings from the Accused Product’s manual and identify relevant features with

annotations.10 (Ex. 5; SOF 187). For instance, the accused NexGen 3000 product includes “a

pivot pipe,” “a collector ring having a first stationary portion and a second rotatable portion,

wherein the stationary portion is attached to the pivot pipe above the floor grate,” “a sweep

mechanism” (in the form of an auger with flighting), “a first drive unit,” and “a housing

surrounding the collector ring” as recited by independent claim 1. (SOF 183, 187). The Court


10
  Although the online video of the Accused Product cited in Sudenga’s Original and Amended
Infringement Contentions has been taken down by Global, other online videos show operation of
the Accused Product inside a grain bin. Denis Catalan, “NexGen 3150 w Tru Klean 1st Pass” at
<https://www.youtube.com/watch?v=8kOzuvIdRm0> (Sept. 12, 2018) and Denis Catalan,
“NexGen 3150 w Tru Klean 2nd Pass” at <https://www.youtube.com/watch?v=XennkOShyPk>
(Sept. 12, 2018). (See Ex. BK).
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construed “sweep mechanism” the same as the term “linear conveyor” (in the ‘338 Patent), as “[a]

mechanism for moving solid material, including an auger with flighting, a chain with paddles, a

belt, a cleated belt, or the like.” (SOF 148). As another example, while Global has formally

contended that the Accused Product does not have a “peaked top cover” as recited by claim 6, (Ex.

AT, p. 3), Global’s own engineering staff has acknowledged there is a “peak of the cover” in the

part of the Accused Product “where the slip ring would sit.” (SOF 182).

       Global’s prior motion for partial summary judgment did not seek summary judgment of

noninfringement of the ‘001 Patent. (ECF 118, 119; but see Ex. AT, pp. 2-3).

           3. Claims 1, 6 and 8 of the ‘823 Patent are Directly, Literally Infringed

       Global’s Accused Product meets claims 1, 6, and 8 of the ‘823 Patent, as construed by the

Court, and therefore infringes those claims. (SOF 136, 137, 177-181, 187). 35 U.S.C. § 271(a);

Ethicon, 149 F.3d at 1315. For instance, the accused NexGen 3000 product includes “a pivot stand

attached to a top surface of the floor grate,” “a collector ring having a first stationary portion and

a second rotatable portion, wherein the stationary portion is attached to the pivot stand above the

floor grate,” and “a housing surrounding the collector ring,” in which “the housing is attached to

a drive unit on one side and to an auger section on another side” as recited by independent claim

1. (SOF 136-144, 179, 187; Ex. 5).

       During claim construction, Sudenga argued that “attached to a top surface” is not limited

to being “attached [exclusively] to a top surface,” “attached to a top surface [with nothing in

between],” “[fixedly] attached to a top surface,” or the like, and “does not limit the objects that are

attached (that is, the ‘pivot stand’ and ‘top surface of the floor grate’) to being single-piece

objects—as opposed to either or both attached objects potentially being multi-piece assemblies.”

(ECF 77, p. 24). The Court agreed. (ECF 102, p.13). The Court further cited precedent holding

that the transitional phrase “comprising” used in claim 1 does not preclude the presence of
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additional, unclaimed elements. (ECF 102, p.13, n.1). Sudenga had warned that Global was

“attempt[ing] to make the entirely irrelevant argument that their infringing product contains an

additional attachment.” (ECF. No. 77, pp. 28-29 and n.9). Despite the Court’s claim construction

ruling, Global has continued to rely on the same arguments the Court previously rejected.

       Global’s brief on its own summary judgment motion only argued that the Accused Product

lacked “a pivot stand attached to a top surface of the floor grate” and made no arguments that any

other limitations of claim 1 are missing. (ECF 119, pp. 6-10). Global takes the position that the

“bottom mount” flange of the Accused Product—a separate piece from the cylindrical “mount

tube”—creates an attachment to the floor grate. (SOF 138, 139). By making this argument, Global

conceded that the claimed “pivot stand” need not be a single piece and can be a multi-piece

assembly. (Id.). Where the parties differ is that Global argues that the bottom mount flange is the

only pivot stand attachment to the floor grate whereas Sudenga has consistently alleged

infringement based on the NexGen 3000 product’s other attachment provided where the “retainer,

top bearing” attaches the (multi-piece) pivot stand to a “top surface of the floor grate”. (Contrast

SOF 140-144 with SOF 26, 27). Global wails that Sudenga’s infringement contentions on this

point were “vague and unclear”, (ECF 132, response to SOF 144), though in the weeks

immediately following service of Sudenga’s original invalidity contentions one of Global’s

engineers specifically circled the “Retainer, Top Bearing” in a drawing of center well components

on a page from the manual for the accused NexGen 3000 product that show that part attached to

the top surface of the floor grate. (SOF 180; see also SOF 68; 140-144). This reveals the

dubiousness of Global’s noninfringement arguments, which merely try to avoid addressing

Sudenga’s actual infringement contentions. The Accused Product has two pivot stand attachments

and the one to the top surface of the floor grate meets the “attached to the a top surface” limitation



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of claim 1, in the sense of being “joined, fastened, or connected” to the top surface of the floor

grate of a center well. (SOF 140, 143; see also SOF 177, 178, 187).

       B.      Global’s Infringement Was Willful

       A finding of willfulness entitles Sudenga to a subsequent award of enhanced damages. 35

U.S.C. § 284. Willfulness is based on the totality of the circumstances, under a preponderance of

the evidence standard, and an infringer’s subjective bad faith alone may support enhanced

damages. Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. ___, 136 S. Ct. 1923 (2016); Read Corp.

v. Portec, Inc., 970 F.2d 816, 827 (Fed. Cir. 1992) (non-exclusive list of willfulness factors).

       Here, one of Global’s engineers photographed Sudenga’s D150 bin sweep (which is

covered by the Patents-in-Suit) at a trade show in February 2013 while that same engineer was the

“lead person” developing Global’s Accused Product. (SOF 135, 188). Global’s engineers had in

their records copies of Sudenga advertisements dated from 2012 that identified collector ring

features of certain Sudenga bin sweep products as patent pending, and in May 2014 a Global

salesperson even received a copy of a Sudenga advertisement that identified collector ring features

as patented. (Id.; SOF 189). Global then commercially released the Accused Product later in

2014. (SOF 190). Sudenga affirmatively contacted Global regarding infringement in January

2016, placing Global on actual notice of at least the ‘823 Patent and the ‘001 Patent. (SOF 164).

Despite arguing to Sudenga that there was no infringement, Global’s agents privately looked for

possible product re-designs of the Accused Product and privately acknowledged that

                              (SOF 192, 193, 195-196). Global did not conduct a patent freedom-

to-operate or invalidity search against the Patents-in-Suit until April 2017, meaning it could not

have formed any belief in invalidity before then. (SOF 191, 194). Global is not relying on an

advice of counsel defense in the present suit. (SOF 151).



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       But there is more. Global was acquired by AGI in April 2017, and as part of that acquisition



                                                (SOF 167, 193).




                                                       (Id.).

Global’s new owners could put forward flimsy invalidity defenses without much concern for the

consequences. Global’s new management did not need to subjectively believe in their defenses to

avoid ultimate liability. (See SOF 192, 196). This is how the present litigation has played out; as

the USPTO considered the references cited by Global and still found Sudenga’s claimed inventions

patentable, Global has merely disregarded those findings and stuck with untenable and weak

invalidity defenses in subjective bad faith. See WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1340

(Fed. Cir. 2016); (SOF 89, 204, 205). Undisputable evidence thus shows AGI controlled Global’s

ongoing sales of the Accused Product with deliberate, flagrant contempt for Sudenga’s patents,

showing culpable behavior that constitutes willful infringement. (SOF 167, 188, 191-196).

       C.      Global Cannot Establish by Clear & Convincing Evidence That Any Asserted
               Claims of the Patents-in-Suit are Invalid

       Global’s invalidity arguments fail to overcome the statutory presumption of validity by the

requisite clear and convincing evidence. (SOF 77, 212, 213). Global (a) disregards or second-

guesses the USPTO’s considered judgment of the same or comparable evidence under the

USPTO’s lower standard of proof, (b) relies on materials that do not constitute prior art, and (c)

attempts to portray Sudenga’s priority provisional patent application (PPA) as practically

worthless in a manner contrary to law and fact. For example, the inadequacy of Global’s evidence

and arguments is highlighted by the fact that the USPTO already considered all but one of the


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references cited by Global when it granted the ‘338 Patent—along with an early invalidity claim

chart prepared by Global’s attorneys—and granted that patent over all of that art.11 (SOF 86, 204).

But the USPTO was correct and Global has not established any USPTO error—Global simply

doesn’t accept the conclusion. (SOF 89; Ex. AU at ¶ 46). Global asserts the single “new” reference

Neuero is “interchangeable” with Chief, which was previously considered by the USPTO, meaning

Neuero changes nothing with respect to the USPTO’s examinations of other art that was at least

as relevant. (SOF 55, 86-88, 125). RCA, 293 U.S. at 7; Ingersoll-Rand, 474 F.2d at 496.

           1. The Kaskie Bros. Sale is Not Prior Art Against the Asserted Claims Because
              There is Written Description Support in Sudenga’s Provisional Application

       Sudenga’s PPA fully supports all of the asserted claims of the Patents-in-Suit, which are

each entitled to claim priority to the PPA filing date. (SOF 74-77). The subject matter of all the

asserted claims falls within the so-called predictable arts. (SOF 70). See Fisher, 427 F.2d at 839.

It is well-settled that disclosure of even single species within a genus can support for a claim

directed to the genus in the predictable arts. Bilstad, 386 F.3d at 1124-26; Martek, 579 F.3d at

1371.12 Because the asserted claims are adequately supported by the PPA, they are each entitled

to claim priority to the February 19, 2020 PPA filing date. (SOF 77). This means the “critical

date” for the on-sale bar under pre-AIA 35 U.S.C. § 102(b) is February 19, 2009. Because

Sudenga’s September 2009 sale of a product covered by the Patents-in-Suit to Kaskie Bros. was

after the critical date, it falls within the one-year statutory grace period under pre-AIA 35 U.S.C.

§ 102(b) and is not prior art against any asserted claims. (SOF 84). Global’s “written description”

invalidity contentions are merely self-serving, taking an unreasonably narrow view of the figures




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   The USPTO granted Sudenga’s ‘989 Patent after considering Global’s original invalidity
contentions, under a preponderance of the evidence. (SOF 87-88, 165, 205). MPEP § 706(I).
12
   Voluntary dismissal of certain previously-asserted claims resolved this matter. (See SOF 174).
                                                16
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and text of Sudenga’s PPA and failing to apply the knowledge of a person of ordinary skill in the

art. (SOF 30, 31, 69, 70, 72-76, 171, 172).

       For example, Sudenga’s PPA disclosed a pivot pipe or stand “extending above a top surface

of the floor grate” as recited in asserted claims of the ‘001 Patent and ‘338 Patent. (SOF 76, 77;

Ex. 8). It is well established that even figures alone can provide “written description”, and FIG. 2

of the Sudenga PPA shows a pivot pipe or stand “extending above a top surface of the floor grate.”

Vas-Cath, 935 F.2d at 1565. A person of ordinary skill could recognize support in the PPA for the

inventor’s possession of each of the asserted claims, even though the wording differs, particularly

when viewing the drawings (including text in those drawings) in conjunction with the entire text

of the specification, and would not find any disclaimer of scope. Ariad, 598 F.3d at 1352 (no in

haec verba requirement); Johnson, 175 F.3d at 992-93; (SOF 69, 70, 72, 73, 76, 77; Ex. B at ¶¶

16, 17; ECF 102, pp. 12-16). Similarly, the genus terms “sweep mechanism” and “linear

conveyor” (in claims of the ‘001 and ‘338 Patents) are also both supported by disclosure in

Sudenga’s PPA. (SOF 75, 77). It is apparent to persons of ordinary skill that the PPA disclosure

as a whole does not disclaim any scope and does not ever state that an auger embodiment is

essential or critical. (Ex. 8, ¶ 2 and FIGS. 1 and 2; Ex. B at ¶¶ 18, 19). Due to the predictability

of the art, persons of ordinary skill would have understood an auger as merely one species within

the genus of known sweep mechanisms and linear conveyors usable with bin sweeps to move solid

materials. (SOF 69, 70, 72, 74, 75, 77; Ex. B at ¶ 20).

           2. Global Cannot Establish Invalidity by Clear & Convincing Evidence Based on
              Patent and Alleged “Printed Publication” References

                           a. The Francis Reference in View of Additional References

       The closest prior art of record is Francis (U.S. Pat. No. 3,449,840), which disclosed a bin

sweep having a collector ring (52/53) that is exposed to the contents of the bin. (Ex. R at FIG. 5;


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Ex. B at ¶ 52; Ex. AU at ¶¶ 12-13). Francis was specifically cited by the USPTO patent examiner

who concluded when examining the application for the ‘001 Patent that “the prior art does not

include a collector ring in combination with a housing surrounding the collector ring . . . as recited

in the claims.” (SOF 206). After considering Francis and other art during examination of

subsequent family-related Sudenga patents—namely the ‘338 Patent and the ‘889 Patent—the

USPTO similarly concluded that “the prior art does not include . . . a housing which covers at least

a top of the collector ring . . . as recited in the claims.” (SOF 86, 88, 204, 205). Likewise, Francis

does not disclose “a housing surrounding the collector ring” as recited by Asserted Claims of the

‘823 Patent. (SOF 206, 207). This is consistent with this Court’s claim construction ruling that

“a ‘housing’ recited in the claims of the asserted patents is separate from a casing, enclosure, or

the like that, if present, is not part of the recited ‘collector ring’ itself.” (SOF 148).

          Global’s Amended Appendix F acknowledged that Francis fails to anticipate the Asserted

Claims but resorts to arguments that Asserted Claims are obvious in view of Duffy, Shivvers,

Glenn, Cook, Meyer, or Lizambard (and Sudenga I and II for certain dependent claims).13 (Ex.

AE). Whether an ordinarily skilled artisan would have been motivated to modify the teachings of

a reference is a question of fact. WBIP, 829 F.3d at 1327 (citations omitted). Global’s Amended

Appendix F invalidity claim chart makes only conclusory, unsupported assertions regarding an

alleged motivation to modify references cited against claims of the Patents-in-Suit. (Ex. AE).

Global’s obviousness arguments represent impermissible hindsight bias, as a reconstruction of

Sudenga’s patented inventions based on Sudenga’s own disclosures rather than the knowledge

available in the prior art. (SOF 207). Recognizing a problem is not the same as providing a

solution, and even defining the problem in terms of its solution reveals improper hindsight. In re



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     Global’s reliance on Francis in view of Lizambard and Meyer is unclear. (Ex. 5, pp. 70-76).
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Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006); In re Linnert, 309 F.2d 498, 502-03 (CCPA 1962). It

was Sudenga’s inventor who, as part of his inventions as a whole, addressed the grain pressure

within a bin that can make an exposed and unhoused collector ring vulnerable, despite its

explosionproof casing. (SOF 127, 207). Indeed, other art like Chief (discussed below) shows that

bin sweep products left the collector ring exposed to the contents of a bin just as in Francis. (Ex.

AU at ¶ 14). Global’s amended contentions do not identify a “collector ring” in any of the

secondary references (Cook, Glenn, Shivvers, Duffy, and possibly Meyer or Lizambard), and

therefore fail to identify “a housing surrounding the collector ring” as claimed. (Ex. AU at ¶ 14).

References like Cook, Glenn, Shivvers, etc. deal with mechanically geared bin sweeps that lack

any collector ring or any teachings about problems arising with the use of collector rings in bins.

Although Duffy, Cook, and Meyer were not considered by the USPTO with respect to the Patents-

in-Suit, those references are merely cumulative with and no more relevant than prior art already

considered by the USPTO, such as Glenn, Shivvers, and Lizambard.14 (Ex. AU at ¶¶ 12, 46, 47).

       The USPTO correctly granted Sudenga patents over Francis, etc. and Global points to no

errors in those determinations. Am. Hoist & Derrick, 725 F.2d at 1360; (Ex. AU at ¶ 46). Global’s

amended invalidity contentions and associated defenses based on Francis should be rejected.

Global has cited numerous additional references it alleges qualify as prior art but none are more

relevant than Francis with regard to a “housing” recited in the Asserted Claims. (SOF 204-206).

                           b. The Chief or Neuero References in View of Lizambard Etc.,
                              and Lizambard in View of Additional References

       Chief and Lizambard were previously considered during examination of the ‘338 Patent,

along with a claim chart prepared by Global’s attorneys, and that patent was determined to be



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  But the USPTO considered Duffy, Cook, Meyer, and all the other cited references, as well as
Global’s original Invalidity Contentions, during examination of the ‘989 Patent. (SOF 205).
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patentable over those references. (SOF 86, 204). Global does not establish any error in that prior

USPTO determination. (See SOF 89; Ex. AU at ¶ 46). Rather, Global relies on impermissible

hindsight bias based on Sudenga’s own disclosures, or at most merely self-serving conclusory

statements that are insufficient. (SOF 122-127, 208, 209, 212).

       Global had to amend its invalidity contentions based on Chief after the Court rejected

Global’s claim construction arguments about the term “collector ring”. (ECF 102 at pp. 6,9,11-

12; SOF 200). Global now concedes that Chief lacks the claimed “housing” but argues a

modification of Chief that combines the teachings of Lizambard, which lacks any disclosure of a

“collector ring” (or slip ring). (SOF 46-51, 199). Global also makes alternate invalidity arguments

based on Chief, Lizambard, or Neuero in view of other art discussed above with respect to Francis.

(SOF 199, 208, 209). But the USPTO previously considered Chief, Lizambard, etc. as well as a

claim chart from Global. RCA, 293 U.S. at 7 (“A patent regularly issued, and even more obviously

a patent issued after a hearing of all the rival claimants, is presumed to be valid until the

presumption has been overcome by convincing evidence of error.”) (emphasis added); (SOF 86,

88, 204, 205). Lizambard fails to disclose any “collector ring” whatsoever and therefore further

fails to teach or suggest any claimed elements or relationships that require such a “collector ring”.

(SOF 114-116). The cited art falls short because both Chief and Lizambard disclose a cover for a

drive unit but neither discloses “a housing covering at least a top of the collector ring” or “a

housing surrounding the collector ring” as claimed. (SOF 86, 88, 114-127, 203, 208, 209, 212).

       A person of ordinary skill considering Chief in view of Lizambard would have had no

reason to modify both Chief and Lizambard to arrive at a configuration not taught by either. (SOF

124, 126); Arendi, 832 F.3d at 1362-63; Van Os, 844 F.3d at 1361. Global’s expert has said, “For

grain handling [the collector ring] device would need to be explosion proof and I did not see any



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mention of that in the patent. I[t] simply says a housing.” (SOF 123). The explosionproof casing

of the collector ring itself already protects against grain dust infiltration and, therefore, the prior

art does not suggest a need for the claimed (separate) housing to prevent dust infiltration as

Global’s expert recently opined (contrary to his earlier statement). (SOF 122, 126, 127, 208; Ex.

24 at ¶¶ 18, 19); see Ex parte Böger, No. 2017-001586, at *4 (PTAB, Aug. 29, 2017). Global’s

arguments using Lizambard as the primary reference have even less support. (SOF 209).

        Global further argues that Neuero is “interchangeable” with Chief; thus, the USPTO has

already considered materials that are as close or closer to the claimed subject matter and Neuero

raises no material new issues of validity. (SOF 71, 79-84, 86, 88, 121, 125, 204, 205; Ex. AU at

¶¶ 12, 14, 46); see Ingersoll-Rand, 474 F.2d at 496. Even assuming arguendo that Neuero is a

“printed publication”, Global lacks evidence to establish that it was published before the critical

date of invention by Sudenga’s inventor or more than a year before the filing date of Sudenga’s

PPA. Hybritech, 802 F.2d at 1380. The alleged November 30, 2009 publication date is simply

not old enough.15 It is surprising that Global relied on Neuero at all.

                            c. The Cantenot Reference (Plus Sudenga I and II)

        Cantenot was previously considered by the USPTO during examination of the ‘338 Patent,

as were Sudenga I and II during examination of all the Patents-in-Suit. (SOF 86, 204).16 Just as

the USPTO previously concluded, Cantenot fails to anticipate each and every limitation of the

asserted claims of each of the Patents-in-Suit. (Id.; SOF 210, 212). The reasons Global’s Amended

Invalidity Contentions based on Cantenot are deficient are difficult to state succinctly, given the


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   Perhaps Neuero was working on similar subject matter around the same time, in a concealed
manner, but the pre-AIA patent laws still deem Mr. Hoogestraat to be the inventor based on the
§ 102 critical dates. BASF, 955 F.3d 958; see also Lindemann Maschinenfabrik GmbH v. Am.
Hoist & Derrick Co., 730 F.2d 1452, 1460 (Fed. Cir. 1984); 35 U.S.C. § 135 (pre-AIA).
16
   Moreover, Cantenot, Sudenga I and II, and Global’s original Invalidity Contentions were
considered by the USPTO during examination of the ‘989 Patent. (SOF 88, 165, 205).
                                                  21
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confusing, vague, and frequently inconsistent content of those contentions. But, for instance,

Global’s Cantenot contentions cite to multiple, different embodiments. (SOF 210). This is

insufficient. Net MoneyIN, 545 F.3d at 1371 (anticipation is not proven by multiple, distinct

teachings that the artisan might somehow combine to achieve the claimed invention). Global’s

contentions also mostly cite to hydraulic bin sweep components of Cantenot, despite the Asserted

Claims being directed to bin sweeps with collector rings (that is, electrically-powered sweeps),

and cite to components that are explicitly described by Cantenot as being “fast” (that is, rotationally

fixed) when the Asserted Claims instead recite rotational relationships. (SOF 148, 210). Global’s

contentions also fail to make sufficient allegations about obviousness, including why a person of

ordinary skill would have been motivated to combine or modify the cited embodiments and/or

references as suggested by Global. (SOF 210).

                            d. The Morillon Reference (Plus Sudenga I and II)

       Global’s invalidity contentions based on Morillon are insufficient for two reasons, either

of which provides grounds to rule in favor of Sudenga. First, Morillon is not prior art against the

Asserted Claims because it was not generally publicly available before the critical date and was

therefore not a “printed publication” under pre-AIA 35 U.S.C. § 102(a) or (b). (SOF 107). Second,

Global fails to establish that the substantive content of Morillon renders any Asserted Claims

invalid. (SOF 108). Morillon contains restrictions on distribution, there is no credible evidence

of its dissemination to make it generally publicly accessible prior to the critical date, and, further,

its substantive contents are inadequate to invalidate any Asserted Claims—the USPTO has indeed

already considered it. (SOF 86, 88, 107, 108; Ex. 15, pp. 36-51; Ex. B at ¶¶26-30).

(1)     The Pantalena Declaration Does Not Establish Morillon as a “Printed Publication”

       Global was unable to find any generally publicly available copies of Morillon and resorted

to a special request through a sister company (Framé) to obtain non-public email materials, and,

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based upon those private communications, Global argues that a copy of Morillon sent by email

between a manufacturer and dealer/distributor (both located outside this country) bearing

restrictions/protective measures is a “printed publication”. (SOF 90-107; Ex. BH). This is

contrary to applicable law—and borders on the ridiculous. See Badowski, 164 F.Supp. at 255-56.

Global relies on the Pantalena Declaration to try to establish public availability, in the face of facts

and legal authority that dictate the opposite conclusion. (SOF 90-107). Morillon was simply not

generally publicly available before the critical date and is not “printed publication” prior art.

        The presence of “protective measures” such as a simple disclaimer that no copying of the

information will be allowed or countenanced can be determinative. Klopfenstein, 380 F.3d at 1351;

accord SRI Int'l, Inc. v. Internet Sec. Sys., Inc., 511 F.3d 1186, 1203 (Fed. Cir. 2008). For instance,

in Northern Telecom, documents that contained the legend “Reproduction or further dissemination

is not authorized” were not “printed publications” and thus did not qualify as prior art. 908 F.2d

at 936-37; see also Globe Linings, Inc. v. City of Corvalis, 555 F.2d 727, 729-30 (9th Cir. 1977)

(report carrying restriction was not public); Klopfenstein, 380 F.3d at 1351; Freedom Wireless, Inc

v. Boston Commc’ns Group, Inc., 390 F. Supp. 2d 63, 88-89 (D.Mass. 2005) (restrictive legend is

probative evidence document is not publicly available).

        Here, Global has admitted that multiple pages of Morillon state that “it mustn’t be copied

or published without our approval.” (emphasis added) (SOF 93). Such a notice is a straightforward

protective measure that informed individuals receiving the document that copying and publication

were not permitted.17 (SOF 93, 96, 107). Morillon is therefore not a “printed publication”. (SOF



17
  Paragraph 8 of the Pantalena Decl. makes inadmissible statements that are hearsay, not based
on personal knowledge, and constitute expert testimony by a lay witness. In particular, Mr.
Pantalena makes statements about the practices of Morillon, a company he was never employed
by, and makes inadmissible statements about what was allegedly “common” that are
extrapolations only permissible by an expert and/or are hearsay. (Contrast Ex. B at ¶¶ 22-24).
                                                  23
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107). The e-mail chain attached to the Pantalena Declaration does not include a request or grant

of authorization to publicly disseminate or publish the Morillon reference. (SOF 97). Also, the

Pantalena Declaration is from the alleged receiving party and no testimony is provided from the

disclosing party whose document contained the restriction—the Pantalena Declaration and its

email attachment contains hearsay in this regard. Moreover, the email chain (to which Morillon

was attached) included multiple confidentiality notices. (SOF 103, 104). This notice, coupled

with the ones on the attached manual, created the reasonable impression that the communications

and all file attachments would be understood to be communicated confidentially between the

sending/disclosing and receiving parties. (SOF 93, 96, 97, 103, 104, 107). Cases with similar

facts have found that such materials were not “printed publications”. Allied Tube, 125 F. Supp.

2d at 990 (letter sent to distributors rather than end users and marked confidential was not

accessible to the interested public and was not a publication); CNET Networks, Inc. v. Etilize, Inc.,

584 F. Supp.2d 1260, 1274 (N.D. Cal. 2008) (copyright dates and “statement that several other

companies bought and used the Liaison software in 2000-2002 and that the Liaison CE User Guide

was available with the software is uncorroborated testimony” insufficient to establish publication);

Goss Int’l, 739 F. Supp. 2d at 1119-20 (manual with restrictive notice not a printed publication).

        Additionally, dates in the Morillon document itself are not sufficient to establish

publication,18 particularly where, as here, they appear to be merely printing or creation dates and

are not conventional markers of publication like library ISBNs. E.g., Open Text SA v. Box, Inc.,

No. 13-cv-04910-JD, 2015 WL 4940798, at *7 (N.D. Cal. Aug. 19, 2015) (citation omitted).




18
  Sudenga also objects to such evidence as inadmissible hearsay. See Hilgraeve, Inc. v.
Symantec Corp., 271 F. Supp. 2d 964, 974–75 (E.D. Mich. 2003).
                                                 24
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        Furthermore, the Pantalena Declaration is unreliable, uncorroborated, and insufficient.19

Mr. Pantalena claims that there were no restrictions on distribution despite Morillon stating in

multiple places that “it mustn’t be copied or published . . . .” (emphasis added) (SOF 93). His

recent declaration also alleges that he wanted a “digital copy for easier electronic dissemination”

yet his attached email chain instead explicitly stated that he “wish[ed] to save a digital copy in our

network for reference.” (SOF 102). These are glaring contradictions. His attached email chain

from a decade earlier states nothing more than a desire for a dealer/distributor to have a copy of a

document bearing a restriction on distribution or publication in order to “save” it in “our” local

computer “network”—there is no mention of alleged further “dissemination” until Global’s

attorneys drafted a declaration with that wording a full decade later. (SOF 93-104). Also, the

version of the email attached to his declaration differs from another version of record that includes

a black bar at the top, suggesting possible redaction or alteration of the email chain. (SOF 104).

        Mr. Pantalena’s declaration also contains inadmissible assertions, involving hearsay and/or

a lack of personal knowledge. (See, e.g., SOF 32 response and SOF 98, 99, 101). Moreover, the

Pantelena Declaration makes assertions to which Sudenga objects as irrelevant when it attests to

activities outside this country and attests to undated events without establishing that those events

were old enough in relation to the critical date to be relevant to establishing a document as a prior

art “printed publication”. (SOF 92, 98-101). The absence of such dates is conspicuous.

        To the extent that there are uncorroborated statements in the Pantalena Declaration those

cannot be given any weight. Texas Digital Sys., Inc. v. Telegenix, Inc., 308 F.3d 1193, 1217 (Fed.

Cir. 2002). This is important because commercial products and associated documentation can




19
  Mr. Pantalena resides abroad and has not been cross-examined. Sudenga objects to
admissibility of parts of his declaration. (See ECF 126, response to SOF 32; SOF 98, 99, 101).
                                                 25
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change over time,20 MPEP § 608.01(v)(I) (“characteristics of a product may change from time to

time and yet it may continue to be sold under the same mark or trade name”) and (SOF 78-80; see

also Ex. K, Attachment H2), and a witness can be tempted to “remember facts” to try to defeat

another’s patent. Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572, 1577 (Fed. Cir. 1996). Vague and

uncorroborated declaration statements are thus insufficient to attribute one version of a document

to another point in time, such as to support other alleged distribution of materials not in evidence.

     (2)     Morillon’s Substantive Disclosure Fails to Render Any Asserted Claims Invalid

           In the unlikely event that Morillon is found to be a “printed publication”, its substantive

contents still fail to establish invalidity of any claims by clear and convincing evidence. (SOF

108). The USPTO already considered Morillon. (SOF 86, 88). Indeed, the USPTO even

considered claim charts prepared by Global’s attorneys that highlighted allegedly relevant

disclosures in Morillon and other references Global continues to rely on. (Id.; SOF 204, 205).

Global has not established any error on the part of the USPTO as part of its burden on summary

judgment. Am. Hoist & Derrick, 725 F.2d at 1360. Sudenga has also identified numerous

deficiencies of Morillon. (Ex. 15, pp. 48-51; Ex. B at ¶¶ 25-33). It is well settled that anticipation

requires that “all of the elements and limitations of the claim must be shown in a single prior

reference, arranged as in the claim.” Karsten, 242 F.3d at 1383 (emphasis added). It is not

sufficient to merely point to isolated elements in a reference, the reference must further show those

elements arranged in the manner required by the claim and not by distinct teachings as they might

somehow be combined. Net MoneyIN, 545 F.3d at 1371. Global’s arguments point to various

things in Morillon and call them by the terms in the asserted claims but fail to establish that those


20
  For instance, Morillon includes a product photo that resembles the Chief reference, (compare
Ex. 10, p. I-3 with SOF 44), suggesting that whatever Morillon might have sold commercially
outside the USA (or disseminated written materials about) may have been unlike the specific
materials Global and Mr. Pantalena now point to. (See SOF 92).
                                                   26
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elements both meet the claim terms and are arranged in the manner claimed.

Indeed, the photo reproduced at right from Morillon shows a pair of silver

side walls open to the front and above, without any top, yet Global alleges

that these mere sidewalls constitute “a housing covering at least a top of the      Morillon (Ex.
                                                                                       10, at
collector ring” as recited by claims 1, 15, and 19 of the ‘338 Patent.21 (SOF       GII0029307)

109, 110). When allowing the grant of the ‘338 Patent—and at the same time signing off that

Morillon had been considered—the USPTO examiner stated, “the prior art does not include . . . a

housing which covers at least a top of the collector ring . . . as recited in the claims.” (SOF 86).22

(emphasis added). Global further conflates the “housing” and the “cover” recited as separate

elements in the claims of the ‘338 Patent. Global does not identify any “cover” in Morillon as

something adjacent to the “housing”, as recited in claims 21 and 22 of the ‘338 Patent, but rather

identifies the same structure as allegedly satisfying both the separate “cover” and “housing”

contrary to the claim recitations. (SOF 111). Differences like these explain why the USPTO

granted the ‘338 Patent over Morillon, even after considering materials from Global.

        Similar deficiencies are found in Global’s arguments regarding claims of the ‘823 and ‘001

Patents, as noted by Sudenga when answering Global’s Interrogatory No. 18; for example, Global

fails to identify where or how Morillon allegedly shows or describes “a housing surrounding the



21
   Morillon at the top left of page I-3 also shows a photo of what appears to be a configuration
like that of Chief and unlike any drawings specifically cited by Global.
22
   When considering Global’s materials submitted in an information disclosure statement (IDS)
after allowance of the Sudenga application, the USPTO examiner had the option to reopen
prosecution if “the examiner determine[d] that reopening prosecution [wa]s necessary to address
an item of information in the IDS.” USPTO, “Quick Path Information Disclosure Statement
(QPIDS) Pilot Program,” 77 Fed. Reg. 27443 (May 10, 2012). Moreover, during examination of
the later ‘989 Patent, after considering Morillon and Global’s original invalidity contentions
from the present suit, the USPTO patent examiner again concluded, “the prior art does not
include . . . a housing which covers at least a top of the collector ring . . . .” (SOF 88) (emphasis
added).
                                                 27
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collector ring” or that “the housing is attached [1] to a drive unit on one side and [2] to an auger

section on another side” as claimed. (SOF 112, 113). Morillon lacks a housing “surrounding the

collector ring” as recited in claims of the ‘823 and ‘001 Patents because the structure of Morillon

that Global points to is open to the front and above, leaving the collector ring exposed to the

contents of a bin. (SOF. 109). Moreover, with regard to the ‘823 Patent’s limitation that “the

housing is attached . . . to an auger section on another side” Global merely avoids reference to

photos and drawings that show the auger being completely separate from the housing and attached

only to a drive unit support. (Ex. B at ¶ 29). Under a lower burden of proof to reject claims as

unpatentable,23 the USPTO concluded that the ‘338 Patent was patentable over Morillon, and for

the same or similar reasons all of the asserted claims of the Patents-in-Suit are valid over Morillon.

(SOF 86, 108-113; see also SOF 88). Therefore, even considering the substance of Morillon,

which is not a “printed publication”, Global cannot establish invalidity by clear and convincing

evidence. (Id.; see also SOF 107).

                            e. The Denis II Reference (Plus Sudenga I and II)

        Denis II lacks a “collector ring” as recited in the Asserted Claims, and further lacks any

claimed elements or relationships that require such a “collector ring” such as the “housing” recited

in the Asserted Claims. (SOF 211-212). In this respect Denis II is much like Lizambard. (Ex. AU

at ¶ 43). Global’s Amended Invalidity Contentions are also inconsistent, identifying different

structures as allegedly disclosing a given claim limitation, such as between claims 1 and 6 of the

‘823 Patent and claims 1 and 6 of the ‘001 Patent. (Ex. AC). The USPTO did consider Denis II

and granted the ‘338 Patent (and the ‘989 Patent) over Denis II. (SOF 86, 204, 205). Denis II has

no effect on validity.


23
  MPEP § 706(I) (patent examiners apply “preponderance of the evidence”); see also In re Jung,
637 F.3d 1356, 1362 (Fed. Cir. 2011); Ex parte Albert, 18 USPQ.2d 1325 (BPAI 1984).
                                                 28
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                            f. The Denis I Reference

         In its original Invalidity Contentions Global listed the publication date of Denis I (“Sweep

Augers DNS & BM Sweeping Brush”) as “Currently unknown” but then in its Amended Invalidity

Contentions made a new contention that Denis I was allegedly published “Prior to 2010.” (SOF

201). However, Global has not even attempted to put forward any evidence of publication of Denis

I “Prior to 2010”. (Id.). That is because there is no such evidence. (Id.) Denis I was not a “printed

publication” that was generally publicly accessible before the critical date and therefore has no

impact on the validity of any Asserted Claims. (Id.). The contents of Denis I are irrelevant because

there is no evidence it was published long enough ago to qualify as prior art.24

                            g. Objective Indicia of Nonobviousness

         Available evidence of so-called objective indicia of non-obviousness, also called

secondary considerations, must be considered. Graham, 383 U.S. at 17-18,36; Stratoflex, 713 F.2d

at 1538; Transocean Offshore Deepwater Drilling Inc. v. Maersk Drilling USA, Inc., 699 F.3d

1340, 1349 (Fed. Cir. 2012). Sudenga has such evidence, and presented arguments about some of

it in its response to Global’s motion for partial summary judgment. (ECF 126, pp. 26-27; SOF

135, 172, 189, 190). Though it is unlikely that the Court needs to rely on this secondary evidence

due to the many deficiencies of the cited art and in Global’s associated invalidity contentions.

VI.      DISMISSAL OF COUNTERCLAIM COUNT VII

         Global’s Counterclaim Count VII should be dismissed for lack of Article III standing. As

outlined above, Global should be found liable for (willful) infringement and its invalidity defenses

rejected. This places Sudenga, not Global, in position to request an award of attorney’s fees. This

Court has held that § 285 fees are “a post-trial decision for the judge rather than an element of


24
  Anyway, the USPTO did consider Denis I and granted the ‘338 Patent (and the ‘989 Patent)
over Denis I. (SOF 204, 205).
                                                 29
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damages to be proved at trial” that are considered “only after a judgment regarding a substantive

patent issue is entered” because § 285 fees are “not a separate, surviving and independent cause of

action, but rather a corollary or ancillary issue which is dependent on the main action.” Elan

Pharms., LLC v. Sexton, 421 F. Supp. 3d 1119, 1125-27 (D.Kan. 2019) (citations omitted); FED.

R. CIV. P. 54(d)(2). This means Global lacks standing for Counterclaim Count VII, at least upon

a summary judgment ruling for Sudenga’s Counts I-III and against Counterclaim Counts I-VI.

VII.   CONCLUSION

       Global’s accused NexGen 3000 product infringes at least one claim of each of the Patents-

in-Suit and Global cannot establish by clear & convincing evidence any of its invalidity

contentions. There are no material disputed facts. Therefore, the Court should grant summary

judgment of infringement under Counts I-III of Sudenga’s complaint and should rule against all

of Global’s noninfringement counterclaims (Counterclaim Counts I-III). Global’s infringement

should also be found to be willful. Further, the Court should conclude, like the USPTO, that the

asserted claims are valid over all of Global’s cited art and should therefore rule against all of

Global’s invalidity defenses and counterclaims (Counterclaim Counts IV-VI). Sudenga’s motion

for summary judgment should thus be granted, leaving remedies to still be determined. Global’s

attorney’s fees counterclaim (Counterclaim Count VII) should also be dismissed.

Dated: July 1, 2020                          Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing instrument was served via the court’s ECF system on

July 1, 2020, upon all counsel of record.

By:    /s/ Michael Dodig
       Michael Dodig




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